                                    Case 19-26536-RAM                         Doc 1        Filed 12/11/19     Page 1 of 59
                                I

     Fill in this information to identify your case:

     United States Bankruptcy Court for the: SOUTHERN DISTRICT OF FLORIDA


                                                                                                                                      @<LED-USBC, FLS-MIA
     Case number (tt known):    ___________                           Chapter you are filing under:                                        ·19 DEC 11 PM12:59
                                                                      6lf Chapter 7
                                                                      0 Chapter 11
                                                                      0 Chapter 12
                                                                      0 Chapter 13                                                     0   Check if this is an
                  -    - - + _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __,                                                                     amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                         12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, " Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In j oint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information . If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


l:r. • • - Identify Yourself

                                         About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name

       Write the name th at is on your
       government-issued picture
                                         ESTHER
       identification (for example ,     First name                                                     First name
       your driver's lice nse or
       passport).                        Middle name                                                    Middle name
       Bring your picture                MARCELIN
       identification to you r meeting   Last name                                                      Last name
       with the tru stee.
                                         Suffix (Sr., Jr., II, Ill)                                     Suffix (Sr. , Jr., II, Ill)

                                                  .
2.    All other names y ou               ESTHER
      have used in the last 8            First name                                                     First name
      years
       Include your married or           Middle name                                                    Middle name
       maiden names .                    FRANCOIS
                                         Last name                                                      Last name


                                         First name                                                     First name

                                         Middle name                                                    Middle name

                                         Last name                                                      Last name


                            I                    I
3.    Only the last 4 d igits of
                                         XXX      -    xx -     _4_ _9_ _3_ _7_                         XXX       -   xx -
      your Social Secu rity                                                                                                     --------
      number or federa l                 OR                                                             OR
      Individual Taxpay er
      Identification num ber             9 xx     -    xx    - --------                                 9 xx      -   xx -      ------ --
      (ITIN)
                           "
Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                      page 1
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Debtor 1       ESTHER MARCELIN                                                                                Case number    (if known) _ _ _ _ _ _ _ _ _ _ _ _ __
               First Name       Middle Name                     Last Name



                                                            I
                                                         l
                                              About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                             D      I have not used any business names or EINs.                   D      I have not used any business names or EINs.
     Identification Numbers
     (EIN) you have use d in                   ROYALE DESIGNS SUBMISSIONS
     the last 8 years                         Business name                                                        Bu siness name

     Inclu de trade names and                  EMF CONSULTANTS
     doing business as names
                                              Business name                                                        Business name


                                                XX-XXXXXXX                                                                      - -------
                                              EIN-               -------                                           EIN-


                                                XX-XXXXXXX                                                        --            - ----- - -
                                              EIN                                                                  EIN




5.   Where you live                                                                                                If Debtor 2 lives at a different address:



                                              10342 SOUTHWEST 151 ST TERRACE
                                              Number               Street                                          Number          Street




                                              MIAMI                                      FL        33176
                                              City                                       State     ZIP Code        City                                      State    ZIP Code

                                              MIAMI-DADE COUNTY
                                              County                                                               County


                                              If your mailing address is different from the one                   If Debtor 2's mailing address is different from
                                              above, fill it in here. Note that the court will send               yours, fill it in here. Note that the court will send
                                              any notices to yo u at th is mailing address.                       any notices to th is mailing address .



                                              Number               Street                                          Num ber         Street



                                              P.O. Box                                                             P.O. Box



                                              City                                       State     ZIP Code       City                                       State    ZIP Code




6. Why you are choo sing                      Check one:                                                          Check one:
     this district to file for
     bankruptcy
                                              liZI   Over the last 180 days before filing this petition , I       D      Over the last 180 days before filing this petition , I
                                                     have lived in this district longer than in any other                have lived in this district longer than in any other
                                                     district.                                                           district.

                                              D      I have another reason . Explain .                            D       I have another reason . Explain.
                                                     (See 28 U.S.C. § 1408.)                                             (See 28 U.S.C. § 1408.)


                                                        I
                                                        I
                                                        I
                                                        I
                            I


Official Form 101                                               Voluntary Petition for Individuals Filing for Bankruptcy                                       page 2
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Debtor 1      ESTHER MARCELIN                                                                             Case number Ufknown) _ _ _ _ _ _ _ _ _ _ _ _ __
              First Name   Middle Name                  Last Name




•§fl        Tell the Co    rt About Your Bankruptcy Case


7.    The chapter of th                  Check one. (For a brief description of each , see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                for Bankruptcy (Form 2010)). Also , go to the top of page 1 and check the appropriate box.
      are choosing to fi le
      under
                                         liZI   Chapter 7

                                         D      Chapter 11

                                         D      Chapter 12

                                         D      Chapter 13


s. How you will pay the fee          ~ will pay the entire fee when I file my petition . Please check with the clerk's office in your
                                {r              local court for more details about how you may pay. Typically, if you are paying the fee
                                 "t ·           yourself, you may pay with cash , cashier's check, or money order. If your attorney is
                                                submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                with a pre-printed address.

                                         D      I need to pay the fee in installments. If you choose this option, sign and attach the Application
                                                for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                         ✓i: equest that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                  t:J..         By law, a judge may, but is not required to, waive your fee , and may do so only if your income is
                                  c,-           less than 150% of the official poverty line that applies to your family size and you are unable to
                                                pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.                                       lZl No
                                         •      Yes .   District                                 When                      Case number
                                                                                                         MM/ DD / YYYY

                                                        District                                 When                      Case number
                                                                                                         MM/ DD / YYYY

                                                        District                                 When                      Case number
                                                                                                         MM / DD /YYYY

~---
10.   Are any bankruptcy                 QI     No
      cases pending or being
      filed by a spouse who is           D      Yes.    Debtor                                                             Relationsh ip to you
      not filing this ca e with                         District                                When                      Case number, if known
      you, or by a busi ess                                                                             MM/ DD /YYYY
      partner, or by an
      affiliate?
                                                        Debtor                                                            Relationship to you

                                                        District                                When                      Case number, if known
                                                                                                        MM/ DD /YYYY



11.   Do you rent your
      residence?
                                         •      No    Go to line 12.
                                         QI     Yes . Has your landlord obtained an eviction judgment against you?

                                                        !;;a   No. Go to line 12.
                                                        D      Yes . Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                               part of this bankruptcy petition .




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                      page 3
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Debtor 1          ESTHE R MARCELIN                                                                              Case number (it known) _ _ _ _ _ _ _ _ _ _ _ _ __
                 First Name       Middle Name              Last Name




              Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor                   0   No. Go to Part 4.
      of any full- or part-time
      business?                                 ~Yes.Name and location of business
      A sole proprietorship is a
                                                          EMF CONSULTANTS
      business you operate as an
                                                         Name of business, if any
      individual , and is not a
      separate legal entity such as
      a corporation , partnership , or
                                                         22511 SOUTHWEST 88TH PLACE
                                                         Number          Street
      LLC.
      If you have more tha n one
      sole proprietorship, use a
      separate sheet and attach it
                                                          CUTLER BAY                                                   FL          33190
      to this petition .
                                                           City                                                        State       ZIP Code


                                                         Check the appropriate box to describe your business:

                                                         0       Health Care Business (as defined in 11 U.S.C. § 101 (27 A) )

                                                         0       Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51 B))

                                                         0       Stockb roker (a s defined in 11 U.S.C. § 101 (53A))

                                                         0       Commodity Broker (as defined in 11 U.S.C. § 101 (6))

                                                         lii:f   None of the above


13. Are you filing under                        If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it

      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(8).
      are you a small business
      debtor?
                                                ~ No. I am not filing under Chapter 11 .
      For a definition of small
      business debtor, see                      0   No. I am filing under Chapter 11 , but I am NOT a small business debtor according to the definition in
      11 u.s.c. § 101 (510).                            the Bankruptcy Code.

                                                0   Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code .

                          I
              Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                    lZI No
      property that poses or is
      alleged to pose a threat                  0   Yes . What is the hazard??
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs                                  If immediate attention is needed , why is it needed? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                           Whe re is the property??
                                                                                       Number          Street




                                                                                       City                                            State   ZIP Code


Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4
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Debtor 1         ESTHER MARCELIN                                                                             Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ __
                First Name     Middle Name               Last Name




              Explain Your Efforts to Receive a Briefing About Credit Counseling


                                             About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                  You must check one:
      counseling.
                                             Ga   I received a briefing from an approved credit                   0   I received a briefing from an approved credit
                                                  counseling agency within the 180 days before I                      counseling agency within the 180 days before I
      The law requires that you                   filed this bankruptcy petition, and I received a                    filed this bankruptcy petition, and I received a
      receive a briefing about credit             certificate of completion.                                          certificate of completion.
      counseling before yo u file for
                                                  Attach a copy of the certificate and the payment                    Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                  plan , if any, that you developed with the agency.                  plan , if any, that you developed with the agency.
      truthfully check one of the
      following cho ices. If you
                                             0 I received a briefing from    an approved credit                   0   I received a briefing from an approved credit
      cannot do so, you are not
                                                  counseling agency within the 180 days before I                      counseling agency within the 180 days before I
      eligible to file .                          filed this bankruptcy petition, but I do not have a                 filed this bankruptcy petition, but I do not have a
                                                  certificate of completion.                                          certificate of completion.
      If you file anyway, the court               Within 14 days after you file this bankruptcy petition ,            Within 14 days after you file th is bankruptcy petition ,
      can dismiss your case, you
                                                  you MUST file a copy of the certificate and payment                 you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                  plan , if any.                                                      plan , if any.
      you paid , and your creditors
      can begin collection activities        0    I certify that I asked for credit counseling                    0   I certify that I asked for credit counseling
      again .                                     services from an approved agency, but was                           services from an approved agency, but was
                                                  unable to obtain those services during the 7                        unable to obtain those services during the 7
                                                  days after I made my request, and exigent                           days after I made my request, and exigent
                                                  circumstances merit a 30-day temporary waiver                       circumstances merit a 30-day temporary waiver
                                                  of the requirement.                                                 of the requirement.
                                                  To ask for a 30-day temporary waiver of the                         To ask for a 30-day temporary waiver of the
                                                  requirement , attach a separate sheet explaining                    requirement , attach a separate sheet explaining
                                                  what efforts you made to obtain the briefing , why                  what efforts you made to obtain the briefing , why
                                                  you were unable to obtain it before you filed for                   you were unable to obtain it before you filed for
                                                  bankruptcy, and what exigent circumstances                          bankruptcy, and what exigent circumstances
                                                  required you to file this case.                                     required you to file this case.
                                                  You r case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                  dissatisfied with your reasons for not receiving a                  dissatisfied with your reasons for not receiving a
                                                  briefing before you filed for bankruptcy.                           briefing before you filed for bankruptcy.
                                                  If the court is satisfied with your reasons , you must              If the court is satisfied with your reasons , you must
                                                  still receive a briefing within 30 days after you file .            still receive a briefing within 30 days after you file .
                                                  You must file a certificate from the approved                       You must file a certificate from the approved
                                                  agency, along with a copy of the payment plan you                   agency, along with a copy of the payment plan you
                                                  developed , if any. If you do not do so, your case                  developed , if any. If you do not do so , your case
                                                  may be dism issed.                                                  may be dismissed .
                                                  Any extens ion of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                  only for cause and is limited to a maximum of 15                    only for cause and is limited to a maxi mum of 15
                                                  days.                                                               days .

                                             0    I am not required to receive a briefing about                   0 I am   not required to receive a briefing about
                                                  credit counseling because of:                                       credit counseling because of:

                                                  0   Incapacity.    I have a mental illness or a mental              0   Incapacity.    I have a mental illness or a mental
                                                                     deficiency that makes me                                            deficiency that makes me
                                                                     incapable of realizing or making                                    incapable of real izing or making
                                                                     rational decisions about finances .                                 rational decisions about finances .
                                                  0   Disability.    My physical disability causes me                 0   Disability.    My physical disability causes me
                                                                     to be unable to participate in a                                    to be unable to participate in a
                                                                     briefing in person , by phone, or                                   briefing in person , by phone, or
                                                                     through the internet, even after I                                  through the internet, even after I
                                                                     reasonably tried to do so.                                          reasonably tried to do so.
                                                  0   Active duty. I am currently on active military                  0   Active duty. I am currently on active military
                                                                   duty in a military combat zone .                                    duty in a military combat zone.
                                                  If you believe you are not required to receive a                    If you believe you are not requ ired to receive a
                                                  briefing about credit counseling , you must file a                  briefing about cred it counseling , you must file a
                                                  motion for waiver of cred it counseling with the court.             motion for waiver of credit counsel ing with the court.




Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5
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Debtor 1       ESTHER MARCELIN                                                                      Case number   (if known) _ _ _ _ _ _ _ _ _ _ _ _ __
              First Name   Middle Name               Last Name




           Answer Th se Questions for Reporting Purposes

                                         16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C . § 101 (8)
16. What kind of debts do                     as "incurred by an individual primarily for a personal, family , or household purpose."
   you have?
                                              0   No. Go to line 16b.
                                              ~ Yes. Go to line 17.

                                         16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                              money for a business or investment or through the operation of the business or investment.

                                              D   No. Go to line 16c.
                                              D   Yes . Go to line 17.

                                         16c. State the type of debts you owe that are not consumer debts or business debts .



11. Are you filing under
   Chapter 7?                            D   No. I am not filing under Chapter 7.

   Do you estimate t at after            ~ Yes . I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
   any exempt prop rty is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
   excluded and                                   (a2I No
   administrative expenses
   are paid that funds will be                    D     Yes
   available for distribution
   to unsecured creditors?

1s. How many creditors do                ~ 1-49
    you estimate that you                0   50-99
    owe?                                 0   100-199
                                         0   200-999

19. How much do you                      ~ $0-$50,000
   estimate your as ets to               0   $50,001-$100,000
   be worth?                             0   $100 ,001-$500 ,000
                                         D   $500,001-$1 m illion

20. How much do you                      0   $0-$50,000
   estimate your liabilities             0   $50,001-$100,000
   to be?                                ~ $100,001-$500,000
                                         D   $500 ,001-$1 m illion

•@@        Sign Below

                                         I have examined this petition , and I declare under penalty of perjury that the information provided is true and
For you                                  correct.

                                         If I have chosen to file under Chapter 7, I am aware that I may proceed , if eligible, under Chapter 7, 11, 12, or 13 of
                                         title 11 , United States Code. I understand the relief available under each chapter 7, and I choose to proceed under
                                         Chapter 7.

                                         If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                         this document, I have obtained and read the notice required by 11 U.S .C. § 342(b).

                                         I request relief in accordance with the chapter of title 11, United States Code, specified in this petition .

                                         I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                         with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years , or both .

                                         :usc ~                         'Tt""n
                                             ~
                                                                                                         X
                                                                                                             -S-ig_n_a-tu-re-of_D_e_b_t-or_2_ _ _ _ _ _ __ __


                                             2[ 1I !fltYYY
                                                       JA l~
                                             Executed on         \
                                                                 MM   7 DD
                                                                                                             Executed on
                                                                                                                           _M_M_     , yy_y_y_
                                                                                                                               / -D-D--



Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                      page 6
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Debtor.1                                                                                        Case number (l known),_ _ _ _ _ _ _ _ _ _ _ _ _ __
             FntName   Middle Name              last Nam •




                                     I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are        to proceed under Chapter 7, 11 , 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                   available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                     the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented           knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                     X                                                                   Date
                                         Signature of Attorney for Debtor                                               MM         DD /YYYY




                                         Printed name



                                         Firm name



                                         Number      Street




                                         City                                                           State           ZIP Code




                                         Contact phone _ _ _ _ _ _ _ _ _ _ _ _ _ __                     Email address




                                         Bar number                                                     State




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7
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Debtor 1      ESTHER MARCELIN                                                                  Case number   (ilknown)_ _ _ _ _ _ _ _ _ _ _ _ __
              First Name   Middle Name           Last Name




For you if you are filing this           The law allows you, as an individual , to represent yourself in bankruptcy court, but you
bankruptcy without an                    should understand that many people find it extremely difficult to represent
attorney                                 themselves successfully. Because bankruptcy has long-term financial and legal
                                         consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                  To be successful, you must correctly file and handle your bankruptcy case . The rules are very
need to file this page.                  technical , and a mistake or inaction may affect your rights. For example , your case may be
                                         dismissed because you did not file a required document, pay a fee on time , attend a meeting or
                                         heari ng , or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                         firm if your case is selected for audit. If that happens, you could lose your right to file another
                                         case, or you may lose protections, including the benefit of the automatic stay.

                                         You must list all your property and debts in the schedules that you are required to file with the
                                         court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                         in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                         property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                         also deny you a discharge of all your debts if you do someth ing dishonest in your bankruptcy
                                         case , such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                         cases are randomly audited to determine if debtors have been accurate , truthful , and complete.
                                         Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                         If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                         hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                         successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                         Bankruptcy Procedure , and the local rules of the court in which your case is filed. You must also
                                         be familiar with any state exemption laws that apply.

                                         Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                         consequences?
                                         0     No
                                         Ill   Yes

                                         Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                         inaccurate or incomplete, you could be fined or imprisoned?
                                         D     No
                                         ~ Yes

                                         Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                         12) No
                                         D     Yes. Name of Person
                                                                          --------------------------
                                                    Attach Bankruptcy Petition Preparers Notice, Declaration, and Signature (Official Form 119).



                                         By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                         have read and understood this notice , and I am aware that filing a bankruptcy case without an
                                         attorney may cause me to ose my rights or property if I do not properly handle the case.




                                                                                                        Signature of Debtor 2

                                                                                                       Date
                                                                                                                        MM/     DD /YYYY

                                         Contact phone _3_os_2_1s_6_
                                                                   76_1_ _ _ _ _ _ _ _ _ __            Contact phone

                                         Ce I phone          3052186761                                Cell phone

                                         E ail address       ESTHERMARCELIN305@GMAIL.COM               Email address



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                                                                                                                                                                                         fLS-MlA
                                                                                                                                                                              FlLEO-USBC' 1·05
                                                                                                                                                                                    '19 DEC 11 PH              •



       Debtor 2
       (Spouse,   ~   filing) First Name                        Middk! Name                          Last Name


       Un ited States Bankruptcy Cou rt for th e:
                                                           SOUTHERN DISTRICT OF FLORIDA

       Ca se number                                                                                                                                                                                   0    Check if this is an
                             (If known)                                                                                                                                                                    amended filing




  Official Form 106Sum
  Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                                          1211s
  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
  your original forms, you must fill out a new Summary and check the box at the top of this page.


                        Summarize Your Assets


                                                                                                                                                                                                  Your assets
                                                                                                                                                                                                  Value of what you own
  1.     Schedule AIB: Property (Official Form 106NB)
         1a. Copy line 55 , Total real estate , from Schedule A/8 .. .. .. ..... ...... .. .. ..... .... ... .. .. ..... ........ .................. ......... ................ ...... ...... .
                                                                                                                                                                                                      $ ____          o_.o_o

         1b. Copy line 62, Total personal property, from Schedule A/8 ..... ................ .. ................... .. ................. ................................. .                          $     16996.00
                                                                                                                                                                                                          --- ---
         1c. Copy line 63 , Total of all property on Schedule A/8 .. ... ......... ............................ .............................................................. .
                                                                                                                                                                                                      $     16996.00
                                                                                                                                                                                                          --- ---

•§fl                    Summariz t Your Liabilities



                                                                                                                                                                                                  Your liabilities
                                                                                                                                                                                                  Amount you owe
' 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
         2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D .. .. ....... .                                                           $         14180.00

  3. Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                      $               0.00
         3a.   Copy the total cl aims from Part 1 (priority unsecured claims) from line 6e of Schedule EIF ....... .. .... ... .. ...... ................... .

         3b. Copy        the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                                                  +   $       208881.00

                                                                                                                                                             Your total liabilities                   $       223061.00


•§fl                   Summarize Your Income and Expenses


  4. Schedule I: Your Income (Official Form 1061)
         Copy your combined month ly income from line 12 of Schedule 1.................................................................... ................. .. ...                                   $
                                                                                                                                                                                                          - - -4977.29
                                                                                                                                                                                                                ---
I 5.    Schedule J: Your Expenses (Official Form 106J)
         Copy your monthly expenses from line 22c of Schedule J ..... ................................. ............................................... .... .. ..... .. . .                          $
                                                                                                                                                                                                          - - -5050.00
                                                                                                                                                                                                                ---



 Official Form 106Sum                                          Summary of Your Assets and Liabilities and Certain Statistical Information                                                                            page 1
                                      Case 19-26536-RAM                Doc 1       Filed 12/11/19                Page 10 of 59
   De btor 1           ESTHER MARCELIN                                                               Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ __
                      First Name     Mktdle Name       Last Name




                     Answer Th se Questions for Administrative and Statistical Records


    6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

       0       No.
       ~       Yes


    7. What kind of debt do you have?

       ~   Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose ." 11 U.S.C. § 101 (8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

       D   Your debts are not primarily consumer debts. You have nothing to report on this part of the form . Check this box and subm it
           this form to the court with your other schedules.



    a. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
       Form 122A-1 Line 11 , OR, Form 122B Line 11 ; OR, Form 122C-1 Line 14.                                                       $ _ _7_0_9_2._55_




    9. Copy the following pecial categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                             Total claim


         From Part 4 on Schedule E/F, copy the following:


       9a. Domestic support obligations (Copy line 6a.)                                                      $              0.00


       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                             $              0.00

       9c. Claims for death or personal injury while you were intoxicated . (Copy line 6c.)                  $              0.00


       9d. Student loans. (Copy line 6f.)                                                                    $         182910.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as           $              0.00
           priority claims . (Copy line 69.)


       9f. Debts to pensio or profit-sharing plans, and other similar debts. (Copy line 6h.)             +   $              0.00


      9g . Total. Add lines 9a through 9f.                                                                   $        182910.00




Official Form 106Sum          Summary of Your Assets and Liabilities and Certain Statistical Information                                     page 2
                                     Case 19-26536-RAM                       Doc 1         Filed 12/11/19          Page 11 of 59
                                 I
Fill in this information to identify your case and this filing:


Debtor 1            ESTHER MARCELIN
                    First Name                   Middle Name                last Name

Debtor 2
(Spouse, ~ fil ing) First Name                   Midd le Name               Last Name

                                             SOUTHERN DISTRICT OF FLORIDA
United States Bankruptcy Court for the:

Case number
                                                                                                                                             D   Check if this is an
                                                                                                                                                 amended filing

Official Form 106A/8
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and descri be items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    liZl   No. Go to Part 2.
    D      Yes. Where is the property?
                                                                     What is the property? Check all that apply.
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                     D    Single-family home                           the amount of any secured claims on Schedule D:
      1.1.                                                                                                             Creditors Who Have Claims Secured by Property.
             Street address, if available, or other description
                                                                     D    Duplex or multi-unit building
                                                                     D    Condominium or cooperative                   Current value of the      Current value of the
                                                                     D    Manufactured or mobile home                  entire property?          portion you own?
                                                                     D    Land                                         $_ _ _ _ _ __             $_ _ _ _ __
                                                                     D    Investment property
                                                                     D    Timeshare                                    Describe the nature of your ownership
             City                            State       ZIP Code                                                      interest (such as fee simple, tenancy by
                                                                     D    Other
                                                                                  --------------                       the entireties, or a life estate), if known.
                                                                     Who has an interest in the property? Check one.
                                                                     D Debtor 1 only
             County                                                  D Debtor 2 only
                                                                     D Debtor 1 and Debtor 2 only                      D   Check if this is community property
                                                                                                                           (see instructions)
                                                                     D At least one of the debtors and another
                                                                     Other information you wish to add about th is item, such as local
                                                                     property identification number: _ _ _ _ _ _ _ _ _ _ _ _ _ __
   If you own or have more than one, list here :
                                                                    What is the property? Check all that apply.
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                    D    Single-family home                            the amount of any secured claims on Schedule D:
     1.2.                                                                                                              Creditors Who Have Claims Secured by Property.
             Street address, if available, or other description
                                                                    D    Duplex or multi-unit building
                                                                    D    Condominium or cooperative                    Current value of the      Current value of the
                                                                    D    Manufactured or mobile home                   entire property?          portion you own?
                                                                    D    Land                                          $_ _ _ _ _ _ _            $._ _ _ _ _ _ _ _ .
                                                                    D    Investment property
                                                                    D    Timeshare                                     Describe the nature of your ownership
             City                            State      ZIP Code                                                       interest (such as fee simple, tenancy by
                                                                    D    Other
                                                                                 --------------                        the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.
                                                                    D Debtor 1 only
             County                                                 D Debtor 2 only
                                                                    D Debtor 1 and Debtor 2 only                       D   Check if this is community property
                                                                    D At least one of the debtors and another              (see instructions)

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number: _ _ _ _ _ _ _ _ _ _ _ _ _ __



Official Form 106A/B                                                Schedule A/8: Property                                                              page 1
                                       Case 19-26536-RAM                          Doc 1          Filed 12/11/19    Page 12 of 59
Debtor 1              ESTHER MARCELIN                                                                      Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                      First Name     Middle Name             Last Name




                                                            t            What is the property? Check all that apply.
                                                                         D    Single-family home
                                                                                                                            Do not deduct secured claims or exemptions. Put
                                                                                                                            the amount of any secured claims on Schedule D:
     1.3.                                                                                                                   Creditors Who Have Claims Secured by Property.
               Street address, if available, or other descri ption       0    Duplex or multi-unit bu ilding
                                                                         D   Condominium or cooperative                     Current value of the      Current value of the
                                                                                                                            entire property?          portion you own?
                                                                         D    Manufactured or mobile home
                                                                                                                            $_ _ _ _ _ __             $_ _ _ _ _ __
                                                                         D    Land
                                                                         D    Investment property
                                                                                                                            Describe the nature of your ownership
               City                            State      ZIP Code       0   Timeshare
                                                                                                                            interest (such as fee simple, tenancy by
                                                                         D   Other _ _ _ _ _ _ _ _ _ _ __
                                                                                                                            the entireties, or a life estate), if known.

                                                                         Who has an interest in the property? Check one.
                                                                         D Debtor 1 only
               County
                                                                         D Debtor 2 only
                                                                         D Debtor 1 and Debtor 2 only                       D   Check if this is community property
                                                                                                                                (see instructions)
                                                                         D At least one of the debtors and another
                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number: _ _ _ _ _ _ _ _ _ _ _ _ _ __




•¥fl            Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a veh icle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3. Cars, vans, trucks , tractors , sport utility vehicles , motorcycles

   D      No
   lii1   Yes


               Make:
                                            HYUNDAI                      Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put
   3.1.
                                                                                                                            the amount of any secured claims on Schedule D:
               Model:
                                            SONATA SPORT                 0   Debtor 1 only
                                                                                                                            Creditors Who Have Claims Secured by Property.
                                            2015                         D   Debtor 2 only
               Year:                                                                                                        Current value of the      Current value of the
                                                                         D   Debtor 1 and Debtor 2 only
                                            115000                                                                          entire property?          portion you own?
               Approximate mileage:                                      0   At least one of the debtors and another
               Other information:
                                                                                                                            $            5075.00      $_ _ _ _5075.00
                                                                                                                                                               _ __
            IGOOD CONDITION                                              D Check if this is community property (see          --------
                                                                             instructions)



   If you own or have more than one , describe here:

   3.2.     Make:                                                        Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put
                                                                                                                            the amount of any secured claims on Schedule D:
            Model:                                                       D Debtor 1 only                                    Creditors Who Have Claims Secured by Property.
                                                                         D Debtor 2 only
            Year:                                                                                                           Current value of the      Current value of the
                                                                         0   Debtor 1 and Debtor 2 only
                                                                                                                            entire property?          portion you own?
            Approximate mileage :                                        D   At least one of the debtors and another
            Other information :
                                                                                                                            $_ _ _ _ _ _ _ _          $_ _ _ _ _ __
                                                                         D Check if this is community property (see
                                                        I       I
                                                                             in structions)




Official Form 106A/B                                                     Schedule A/B: Property                                                              page 2
                                   Case 19-26536-RAM                    Doc 1        Filed 12/11/19     Page 13 of 59
Debtor 1            ESTHER MARCELIN                                                             Case number (ff       known), _ _ _ _ _ _ _ _ _ _ _ _ _ __

                 First Name       Middle Name      Last Name



                                                                                                                                  --------------~
   3.3.     Make:
            Model:
                                                1              Who has an interest in the property? Check one.
                                                               0   Debtor 1 only
                                                                                                                         Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                               D Debtor 2 only
            Year:                                                                                                        Current value of the        Current value of the
                                                               0   Debtor 1 and Debtor 2 only
                                                                                                                         entire property?            portion you own?
            Approximate mileage:                               0   At least one of the debtors and another
            Other information :
                                                                                                                         $ _ _ _ _ _ _ __            $_ _ _ _ _ __
                                                               0   Check if this is community property (see
                                                                   instructions)


   3.4.     Make:
                                                               Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
            Model:
                                                               D Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
                                                               D Debtor 2 only
            Year:                                                                                                        Current value of the        Current value of the
                                                               0   Debtor 1 and Debtor 2 only
                                                                                                                         entire property?            portion you own?
            Approximate mileage :                              0   At least one of the debtors and another
            Other information :
                                                                                                                         $_ _ _ _ _ __               $_ _ _ _ _ __
                                                               0   Check if this is community property (see
                                                                   instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats , trailers , motors , personal watercraft , fishing vessels , snowmobiles, motorcycle accessories

   liZi   No
   0      Yes


   4.1 .    Make:                                              Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
            Model:
                                                               D Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
                                                               D Debtor 2 only
            Year:
                                                               D Debtor 1 and Debtor 2 only                              Current value of the        Current value of the
            Other informati on:                                D At least one of the debtors and another                 entire property?            portion you own?


                                                               0   Check if this is community property (see              $_ _ _ _ _ __               $_ _ _ _ _ __
                                                                   instructions)



   If you own or have more than one , list here:

   4.2.     Make :                                             Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
            Model:
                                                               D Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
                                                               D Debtor 2 only
            Year:                                                                                                        Current value of the        Current value of the
                                                               D Debtor 1 and Debtor 2 only                              entire property?            portion you own?
            Other information :                                0   At least one of the debtors and another

                                                                                                                         $_ _ _ _ _ _ _              $_ _ _ _ _ __
                                                               D Check if this is community property (see
                                                                   instructions)




5. ::~     :~::::::~:=~~;'::~ ~~:~.: :~:t~::~::;~;;yo,, ent,;., fro~ Part ': ;ncl                  ,o; ng any ent,;., to, pages .............   ~   r----5_0_7_5_.0_0_




Official Form 106A/B                                           Schedule A/B: Property                                                                      page 3
                                                   Case 19-26536-RAM                                            Doc 1                 Filed 12/11/19                              Page 14 of 59
 Debtor 1                ESTHER MARCELIN                                                                                                                         Case number (ff known),_ _ _ _ _ _ _ _ _ _ _ _ __
                        First Name              Middle Na me                     Last Name




                   Describe Your Personal and Household Items

                                                                                                                                                                                                                          Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                                         portion you own?
                                                                                                                                                                                                                          Do not deduct secured claims
                                                                                                                                                                                                                          or exemptions.

s. Household goods an d furnishings
     Examples : Major appliances , furniture , linens , china , kitchenware

     0 No                                      I
     ~Yes. Describe ......... , BED,                         BEDDING , CHAIRS , COUCH, EATING UTENSILS, AND TOWELS                                                                                                          $_ _ _ _s_o_o_.o_o


7.   Electronics
     Examples: Televisions and radios ; audio, video, stereo, and digital equipment; computers, printers, scanners; music
               collections; electronic devices including cell phones, cameras , media players, games
     D No
     ~ Yes. Describe .. ........ COMPUTER , PRINTER, SMARTPHONE , AND TV                                                                                                                                                   $
                                                                                                                                                                                                                               - - - - -250.00
                                                                                                                                                                                                                                        ---
a. Collectibles of value
     Examples: Antiques and figurines ; paintings , prints, or other artwork; books, pictures , or other art objects;
               stamp, coi n, or baseball card collections ; other collections , memorabilia, collectibles
     ~ No
     0 Yes. Describe .... .. .. .                                                                                                                                                                                          $
                                                                                                                                                                                                                               - - - - - -0.00
                                                                                                                                                                                                                                          --
9. Equipment for sports and hobbies
     Examples: Sports, ph otographic, exercise, and other hobby equipment; bicycles , pool tables , golf clubs, skis; canoes
               and kayaks; carpentry tools; musical instruments
     ~      No
     0     Yes. Describe ...... ... .                                                                                                                                                                                      $_ _ _ _ _           o_.o_o

10. Firearms
     Examples: Pistols, rifles, shotguns , ammunition , and related equipment
     [;21 No
     0     Yes. Describe ......... .                                                                                                                                                                                       $
                                                                                                                                                                                                                               - - - - - -0.00
                                                                                                                                                                                                                                          --
11. Clothes
     Examples: Everyday clothes , furs , leather coats, designer wear, shoes, accessories
     0 No
     ~     Yes. Describe .......... ,            ALL CLOTHES AND FOOTWEAR                                                                                                                                                  $_ _ _ _s_o_.o_o



12.Jewelry
     Examples : Everyday jewelry, costume jewelry, engagement rings , wedding rings , heirloom jewelry, watches , gems,
                gold , silver
     0 No
     ~Yes. Describe ..........                  BRACELET, EARRINGS, NECKLACE, AND WATCHES                                                                                                                                  $_ _ _ _ _1_0_.o_o
13. Non-farm animals
     Examples: Dogs, cats, birds , horses

     [;21 No
     0     Yes. Describe ......... .                                                                                                                                                                                       $                    0.00
                                                                                                                                                                                                                            --------
14. Any other personal and household items you did not already list, including any health aids you did not list

     ~     No
     D     Yes . Give specific
                                                                                                                                                                                                                           $_ _ _ _ _0._0_0
           information .... ....... ...
                                              ~-----------------------------------'
15. Add the dollar valu     of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                                                           $_ _ _        ~8~1=0-=0~0
     for Part 3. Write that number here .. .... .... .... .. .... ... ... .... .... ... .. ......... ..... .. .. .... ... .. ............ ................................................ .. .... .... ..... .. .... •



Official Form 106A/B                                                                               Schedule A/B: Property                                                                                                              page 4
                                                Case 19-26536-RAM                       Doc 1         Filed 12/11/19    Page 15 of 59
 Debtor 1               ESTHER MARCELIN                                                                         Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ __
                        First Name             Middle Name           Last Name




•,,,             Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                                                   Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured claims
                                                                                                                                                              or exemptions.


1s. Cash
   Examples: Money you ave in your wallet , in your home , in a safe deposit box, and on hand when you file your petition

   0      No
   0      Yes ...                                                                                                           Cash:.. ............ .... .....    $_ _ _ _2_0_0_._0_0




17. Deposits of money
   Examples: Checking , savings , or other financial accounts; certificates of deposit ; shares in credit unions , brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution , list each .

   D      No
   0     Yes .... .. ..... ......... .                                            Institution name:


                                               17.1 . Checking account:           JPMORGAN CHASE                                                               $                 50.00
                                               17.2. Checking acco unt:           BAPTIST HEALTH CREDIT UNION                                                  $                  0.00
                                               17.3. Savings account:             BAPTIST HEALTH SOUTH FLORIDA CREDIT UNION                                    $                  5.00
                                               17.4. Savings account:                                                                                          $
                                               17.5. Certificates of deposit:                                                                                  $
                                               17.6. Other financial account:                                                                                  $
                                               17.7. Other financial account:                                                                                  $
                                               17.8. Other financial account:                                                                                  $
                                               17.9. Other financial account:                                                                                  $




18. Bonds, mutual funds , or publicly traded stocks
   Examples: Bond fund s, investment accounts with brokerage firms , money market accounts

   -zl   No
   0     Yes .... ...... .. .... .             Institution or issuer name:

                                                                                                                                                               $_ _ _ _ _ _ _ _

                                                                                                                                                               $_ _ _ _ _ _ __

                                                                                                                                                               $_ _ _ _ _ _ __




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
   0     No                                    Name of entity:                                                              % of ownership:
   0     Yes. Give specific                                                                                                _ _ _ _%                            $_ _ _ _ _ _ _ _
         information about
                                                                                                                           _ _ _ _%                            $ _ _ _ _ _ _ __
         them .. .... .... .... ........ ...
                                                                                                                           _ _ _ _%                            $ _ _ _ _ _ _ __




 Official Form 106A/B                                                            Schedule A/8 : Property                                                                   page 5
                              Case 19-26536-RAM                                         Doc 1        Filed 12/11/19    Page 16 of 59
 Debtor 1               ESTHER MARCELIN                                                                        Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ __
                       First Name            Middle Name            Last Name




20 , Government and corporate bonds and other negotiable and non-negotiable instruments

   Negotiable instruments include personal checks , cashiers' checks , promissory notes, and money orders,
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them ,

   -zl   No
    D Yes . Give specific                    Issuer name :
         information about
                                                                                                                                               $_ _ _ _ _ _ __
         them ........ .... ...... .. .. .
                                                                                                                                               $_ _ _ _ _ _ __
                                                                                                                                               $_ _ _ _ _ _ __



21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh , 401 (k), 403(b), thrift savings accounts , or other pension or profit-sharing plans

   0     No
   ~     Yes . List each
         account separately.                 Type of account:           Institution name:

                                             401 (k) or similar plan:   BAPTIST HEALTH SOUTH FLORIDA                                           $_ _ _ _7..c. .50.; _o;;..;..;;_oo'-
                                             Pension plan:                                                                                     $_ _ _ _ _ _ __

                                             IRA:                                                                                              $_ _ _ _ _ _ __

                                             Retirement account:                                                                               $_ _ _ _ _ _ __

                                             Keogh :                                                                                           $_ _ _ _ _ _ __

                                             Add itional account                                                                               $_ _ _ _ _ _ __

                                             Additional account:                                                                               $ _ _ _ _ _ _ __




22. Security deposits and prepayments
   Your share of all unusad deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords , prepaid rent , public utilities (electric, gas , water) , telecommunications
   companies , or others

   0     No
   .zl   Yes ........... .                                         Institution name or individual:

                                             Electric:             FPL                                                                         $_ _ _ _ _331.00
                                                                                                                                                         _ __
                                             Gas:                                                                                              $_ _ _ _ _ _ __

                                             Heating oil:                                                                                      $_ _ _ _ _ _ __

                                             Security deposit on rental unit:   WILLIE MAE SHINHOSTER                                                   1400.00
                                                                                                                                               $_ _ _ _ _ _ __

                                             Prepaid rent:                                                                                     $_ _ _ _ _ _ __

                                             Telephone:                                                                                        $_ _ _ _ _ _ __
                                             Water:                MIAMI DADE WATER AND SEWER                                                  $_ _ _ _ _125.00
                                                                                                                                                         _ __
                                             Rented furniture:                                                                                 $_ _ _ _ _ _ _ _
                                             Other:                                                                                            $_ _ _ _ _ _ __



23. Annuities (A contract for a periodic payment of money to you , either for life or for a number of years)

   -zl   No

   D     Yes.. ........ ........ .. ......   Issuer name and description :
                                                                                                                                              $_ _ _ _ _ _ _ _

                                                                                                                                              $_ _ _ _ _ _ __




Official Form 106A/8                                                            Schedule A/B : Property                                                        page 6
                                           Case 19-26536-RAM                       Doc 1       Filed 12/11/19             Page 17 of 59
 Debtor 1           ESTHER MARCELIN                                                                             Case number   (if known),_ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name            Middle Name             Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program , or under a qualified state tuition program .
    26 U.S.C. §§ 530(b)(1 ), 529A(b) , and 529(b)(1 ).
   ~ No
   D   Yes ................................ ....   Institution name and description . Separately file the records of any interests.11 U.S.C. § 521(c) :

                                                                                                                                                          $_ _ _ _ _ _ _

                                                                                                                                                          $._ _ _ _ _ _ __

                                                                                                                                                          $._ _ _ _ _ __



25. Trusts,
          equitable or f ture interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   ~ No
   0   Yes. Give specific
       information about them ....                                                                                                                        $._ _ _ _o_.o_o

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names , webs ites, proceeds from royalties and licensing agreements

   ~ No
   D   Yes. Give specific
       information about them ....                                                                                                                        $._ _ _ _ _0_.0_0

27. Licenses, franchises, and other general intangibles
   Examples: Building permits , exclusive licenses, cooperative association holdings, liquor licenses , professional licenses

   ~ No
   D   Yes. Give specific
       information about them ....                                                                                                                        $. _ _ _ _o_.o_o


Money or property owed to you?                                                                                                                            Current value of the
                                                                                                                                                          portion you own?
                                                                                                                                                          Do not deduct secured
                                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you

   0 No
   ~   Yes. Give specific information
            about them , including whether
                                                             I                                                                     Federal:
                                                                                                                                                          - - - -1500.00
                                                                                                                                                          $
                                                                                                                                                                  ---
                                                                                                                                                          $_ _ _ _ _ _ _ _

              ~~~ ~~~~::;~~~st.h.~ .~~'.~~~~········ ,__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                                   State:

                                                                                                                                   Local:                 $_ _ _ _ _ _ _ _



29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

   ~ No
   0   Yes. Give specifi c information ..... ... ... ...
                                                                                                                              Alimony:                    $._ _ _ _ _ __
                                                                                                                               Maintenance:               $._ _ _ _ _ __
                                                                                                                               Support:                   $._ _ _ _ _ __
                                                                                                                               Divorce settlement:        $._ _ _ _ _ __
                                                                                                                               Property settlement:       $_ _ _ _ _ _ _

30. Other amounts someone owes you
   Ex amples: Unpaid wages , disability insurance payments , disability benefits , sick pay, vacation pay, workers ' compensation ,
              Social Security benefits; unpaid loans you made to someone else
   ~ No
   0   Yes. Give specific information ............. ..
                                                                                                                                                                             0.00


Official Form 106A/B                                                         Schedule A/8: Property                                                                 page 7
                                               Case 19-26536-RAM                                       Doc 1               Filed 12/11/19                         Page 18 of 59
 Debtor 1               ESTHER MARCELIN                                                                                                             Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ __
                       First Name            Middle Name                    Last Name




31 . Interests in insurance policies
      Examples: Health , disability, or life insurance;health savings account (HSA) ;credit, homeowner's, or renter's insurance

      0     No
      D     Yes. Name the insurance company              Company name:                                                                                 Beneficiary :                                          Surrender or refund value:
                 of each policy and list its value . ...
                                                                           UNUM LIFE INSURANCE COMPAN                                                   JANIS, TAYLOR AND B                                   $_ _ _ _            o_.o_o
                                                                                                                                                                                                              $_ _ _ _ _ _ __

                                                                                                                                                                                                              $_ _ _ _ _ _ _ _

32.   Any interest in property that is due you from someone who has died
      If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
      property because som eone has died .
      ~ No
      D    Yes . Give specific inform ation ............ ..
                                                                                                                                                                                                              $
                                                                                                                                                                                                                  - - - - - -0.00
                                                                                                                                                                                                                             --
33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
      Examples: Accidents , e mployment disputes , insurance claims , or rights to sue
      ~ No
      D    Yes . Describe each claim ................. .. ..
                                                                        .._ ____________________________                                                                                                  __. $   - - - - - - -0.00
                                                                                                                                                                                                                                --
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
      to set off claims
      ~ No
      D    Yes. Describe eac claim ....... ............. .
                                                                                                                                                                                                                                  0.00
                                                                      '---------------------------- -----'                                                                                                    $
                                                                                                                                                                                                               --------

35. Any financial assets you did not already list

      ~ No
      D    Yes . Give specific information .......... ..              .._  ____________________________                                                                                                   __. $
                                                                                                                                                                                                               - - - - - -0.00
                                                                                                                                                                                                                          --
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
      for Part 4. Write that number here ................................................... ........ .. ...... .................................................... .............................   -+                    11111.00



                    Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

      ~ No. Go to Part 6.
      D    Yes . Go to line 38.

                                                                                                                                                                                                            Current value of the
                                                                                                                                                                                                            portion you own?
                                                                                                                                                                                                            Do not deduct secured claims
                                                                                                                                                                                                            or exemptions.

38.Accounts receivable or commissions you already earned
      0    No
      D    Yes. Describe .......


39. Office equipment, furnishings , and supplies
    Examples: Business-related computers , software, modems. printers, copiers, fax machines, rugs , telephones , desks, chairs , electronic devices

      0    No
      D    Yes. Describe ..... .




Official Form 106A/B                                                                       Schedule A/8: Property                                                                                                        page 8
                                             Case 19-26536-RAM                                         Doc 1               Filed 12/11/19                           Page 19 of 59
 Debtor 1             ESTHER MARCELIN                                                                                                                Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ __
                     First Name            Middle Name                    Last Name




40. Machinery, fixtures , equipment, supplies you use in business, and tools of your trade

   D     No
   D     Yes. Describe ... ... .



41 . Inventory
   D     No
   D     Yes. Describe ... ....



42 . Interests in partnerships or joint ventures

   D     No
   D     Yes. Describe .......           Name of entity:                                                                                                                       % of ownership:
                                                                                                                                                                               _ _ _%                     $_ _ _ _ _ _ _ __
                                                                                                                                                                               _ _ _%                     $_ _ _ _ _ _ _ __
                                                                                                                                                                               _ _ _%                     $_ _ _ _ _ _ _ _ _


43. Customer lists, mailing lists, or other compilations
   D     No
   D     Yes . Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101 (41A))?
                 0     No
                 D     Yes. Describe... .. .. .
                                                                                                                                                                                                           $_ _ _ _ _ _ __


44 . Any business-related property you did not already list
   D     No
   D     Yes . Give specific                                                                                                                                                                               $_ _ _ _ _ _ __
         information ........ .
                                                                                                                                                                                                           $_ _ _ _ _ _ __

                                                                                                                                                                                                           $_ _ _ _ _ _ __

                                                                                                                                                                                                           $_ _ _ _ _ _ __

                                                                                                                                                                                                           $_ _ _ _ _ _ __

                                                                                                                                                                                                           $_ _ _ _ _ _ __


45 . Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
   for Part 5. Write that number here ........................ ......................... ................................................ .. .... .. .. ................ ... .. ............... ..... •
                                                                                                                                                                                                          l·--1                      0



                 Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   li3   No. Go to Part 7.
   D     Yes. Go to line 47.

                                                                                                                                                                                                          Current value of the
                                                                                                                                                                                                          portion you own?
                                                                                                                                                                                                          Do not deduct secured claims
                                                                                                                                                                                                          or exemptions.
47. Farm animals
   Examples: Livestock, pou ltry, farm-raised fish
   D     No
                                                                    I
   D     Yes ...................... .

                                                                                                                                                                                                            $_ _ _ _ _ _ __




Official Form 106NB                                                                        Schedule A/8: Property                                                                                                      page 9
                                                        Case 19-26536-RAM                                                  Doc 1                   Filed 12/11/19    Page 20 of 59
 Debtor 1                   ESTHER MARCELIN                                                                                                                  Case number known) _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                                                                                                         (ff
                           First Name                Middle Name                          Last Name




48. Crops-either growing or harvested

      0 No
      0 Yes.      Give specific
             information .. ..... ... .. .                                                                                                                                                                                                         $_ _ _ _ _ _ __

49. Farm and fishing equipment, implements, machinery, fixtures , and tools of trade
      0 No
      0 Yes .. ...... ...... ... ........ .
                                                                                                                                                                                                                                                   $_ _ _ _ _ _ __


50. Farm and fishing supplies, chemicals, and feed

      0 No
      0 Yes ...... .......... .. ....... .
                                                                                                                                                                                                                                                   $_ _ _ _ _ _ __


51 .Any farm- and comm ercial fishing-related property you did not already list
      0 No
      0 Yes. Give specific
             information .... .. ...... .                                                                                                                                                                                                          $_ _ _ _ _ _ __


52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                                                                     0.00
                                                                                                                                                                                                                                                   $
    for Part 6. Write that umber here ..... ...... ..... .... .......... ... .... .. .... .... .... .. ...... .. ....... ...... .. .. ....... ... .. .... ... ...... .............. .... ....... .. .... .......... ....                  -+       --------



•,,,                   Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
      Examples: Season tickets, country club membersh ip



      ~ No Give specific
      0 Yes.                                    I                                                                                                                                                                                                      $_ _ _ _ _ __

                                                                                                                                                                                                                                                       $ _ _ _ _ _ __

             information ... ..........~ - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ~                                                                                                                                               $_ _ _ _ _ __


                                                                                                                                                                                                                                                       $_ _ _ _ _ _0_
54. Add the dollar value of all of your entries from Part 7. Write that number here ......... .. .. .... ... .... ... ......... ...... ...... .................                                                                          -+

•&fl                   List the 1·otals of Each Part of this Form


55. Part 1: Total real estate, line 2 .... .. ............. .. .... .. ............... .. .. ... .. ... ..... .. .. ...... ..... .. .... ... .... .. .. .. .. .. .. ...... .... .. ..... .. ...... ..... .... ...... ... ...... ... .. ....   ,+   $_ _ _ _ _0_.0_0_

56. Part 2: Total vehicles, line 5                                                                                                               5075.00
                                                                                                                                          $_ _ _ _ _ __


57. Part 3: Total person al and household items, line 15                                                                                  $_ _ _ _810.00
                                                                                                                                                   _ __


58. Part 4: Total financial assets, line 36                                                                                               $_ _ _11111.00
                                                                                                                                                 _ _ __


59. Part 5: Total busine s-related property, line 45                                                                                      $_ _ _ _ _ _0_


60. Part 6: Total farm - and fishing-related property, line 52                                                                            $ _ _ _ _0_._00_


61 . Part 7: Total other property not listed , li ne 54                                                                               +$_ _ _ _ _                              o_
62. Total personal property . Add lines 56 through 61 . .... ...... ...... ... .                                                          $                 16996.00                 Copy personal property total                             -+ + $- - -16996.00
                                                                                                                                                                                                                                                         ----

63. Total of all property on Schedule A/B. Add line 55 + line 62 . .. ... .. .... ..... .. .. .... ..... ..... .. .... .. .. .... .......... .... ............. ... .......... .                                                                          16996.00
                                                                                                                                                                                                                                                   $_ _ _ _ _ __




 Official Form 106A/B                                                                                        Schedule A/B: Property                                                                                                                          page 10
                                      Case 19-26536-RAM                    Doc 1        Filed 12/11/19            Page 21 of 59
 Fill in this information to identify your ca se :

  Debtor 1           ESTHER MARCELIN
                      First Name                  Middle Name               Last Name

  Debtor 2
  (Spouse, if fili ng) First Name                 Middle Name               Last Name


  United States Bankruptcy Court tor the :    SOUTHERN DISTRICT OF FLORIDA

  Case number
  (If known)
                                                                                                                                                    0       Check if this is an
                                                                                                                                                            amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                          04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule AIB: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2 : Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known) .

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount s exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


                    Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       '2'.l   You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522 (b)(3)
       0       You are claiming federal exemptions. 11 U.S.C . § 522 (b)(2)



 2. For any property you list on Schedule AI B that you claim as exempt, fill in the information below.


        Brief description f the property and line on            Current value of the    Amount of the exemption you claim          Specific laws that allow exemption
        Schedule AIB that lists this property                   portion you own
                                                                Copy the value from     Check only one box for each exemption.
                                                                Schedule A/8

      Brief                                                                                                                      Fla. Stat. Ann . § 222.25
                                HOUSEHOLD GOODS                 $_ _ _ ___50_0_.o_
                                                                                o       IZ) $          500.00
      description :
      Line from                                                                         D   100% of fair market value , up to
      Schedule AIB:             6                                                           any applicable statutory limit
                               ---

      Brief                                                                                                                      Fla. Stat. Ann. § 222.25
                                ELECTRONICS                     $______25_0_.o_o        IZ) $          250.oo
      description:
      Line from                7
                                                                                        D   100% of fair market value , up to
      Schedule A/B:
                               - --                                                         any applicable statutory limit

      Brief                                                                                                                      Fla. Stat. Ann. § 222.25
      description :
                                CLOTHES                         $______5_o_.o_o         0 $ _ _ _ _5_0_.o_o
                                                                                        D 100% of fair market value , up to
      Line from
      Schedule AIB:
                               ,.
                               ---
                                                                                            any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01 /22 and every 3 years after that for cases filed on or after the date of adjustment.)

      -zl      No
      D        Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
               0    No
               0    Yes



Official Form 106C                                              Schedule C: The Property You Claim as Exempt                                                    page 1 of _1_1
                                    Case 19-26536-RAM                    Doc 1          Filed 12/11/19            Page 22 of 59
Debtor 1        ESTHER MARCELIN                                                                         Case number   (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
               First Name          M+ddle Name        Last Name




•§fl          Additional Page

      Brief description of the property and line              Current value of the      Amount of the exemption you claim          Specific laws that allow exemption
      on Schedule AIB that lists this property                portion you own

                                                              Copy the value from       Check only one box for each exemption
                                                              Schedule AIB

     Brief                  JEWELRY                                            10.00                     10.00                   Fla. Stat. Ann. § 222.25
     description:                                                 $                     ~$
     Line from              j_g_                                                        D   100% of fair market value , up to
     Schedule A/8:                                                                          any applicable statutory limit

     Brief                  CASH
     description :                                                $           200.00    ~$              200.00                   Fla. Stat. Ann. § 222.25

     Line from                                                                          D   100% of fa ir market value , up to
     Schedule A/8:
                            j_§_                                                            any applicable statutory limit


     Brief                  JPMORGAN CHASE                                     50.00                     50.00                   Fla. Stat. Ann. § 222.25
     description :                                            $                         ~$
     Line from              J]_                                                         D   100% of fair market value, up to
     Schedule A/8:                                                                          any applicable statutory limit

     Brief                  BAPTIST HEALTH CREDIT UN ION                        0.00                      0.00                   Fla. Stat. Ann. § 222.25
     description:                                             $                         ~$
     Line from              17                                                          D   100% of fa ir market value , up to
     Schedule A/8:                                                                          any applicable statutory limit

     Brief                  BAPTIST HEALTH SOUTH FLORIDA C    $                 5. 00                     5.00
     description:                                                                       ~$                                       Fla. Stat. Ann. § 222.25

     Line from                                                                          D   100% of fair market value, up to
     Schedule A/8:
                            Jl._                                                            any applicable statutory limit


     Brief                  BAPTIST HEAL TH SOUTH FLORIDA                    7500.00                   7500.00
                                                              $                         ~$                                       11 U.S.C. § 522(d)(10)
     description:
     Line from                                                                          D   100% of fair market value , up to
                            _g_L_                                                           any applicable statutory limit       11 U.S.C. § 522(d)(12)
     Schedule AIB:

     Brief                  FPL                                               331.00                   331.00                    Fla. S1at. Ann. § 222.25
     description :                                            $                         ~$
     Line from              _gg___                                                      D   100% of fair market value, up to
     Schedule A/8:                                                                          any applicable statutory limit

     Brief                  W LLIE MAE SH IN HOSTER                          1400.00                   1400.00
     description :                                            $                         ~$                                       Fla. Stat. Ann. § 222.25

     Line from                                                                          D   100% of fair market value , up to
     Schedule A/8:
                            _gg___                                                          any applicable statutory limit


     Brief                  MiAM I DADE WATER AND SEWER       $_ _ _ _ _ _1_2_5._ o_
                                                                                  o                     125.00
                                                                                        ~$                                       Fla. Stat. Ann. § 222.25
     descri ption :                                                                          ------
     Line from                                                                          D   100% of fair market value , up to
                            22                                                              any applicable statutory limit
     Schedule A/8:

     Brief
     description :
                            FEDER AL TAX REFUND               $_ _ _ _ _ _15_0_0._oo
                                                                                   _    •   $ ___  __
                                                                                                 1079.00                         Fla. Stat. Ann. § 222.25


     Line from                                                                          D   100% of fair market value , up to
     Schedule A/8:                                                                          any applicable statutory limit

     Brief                  INSURANCE PLAN                    $_ _ _ _ _ _0_.00_        ~ $ _ _ _ _o_.o_o
     description :                                                                                                               Fla. Stat. An n. § 222.25

     Line from                                                                          D   100% of fair market value , up to
     Schedule A/8:                                                                          any applicable statutory limit


     Brief
     description :
                                                              $_ _ _ _ _ __             0$ _ _ __
     Line from                                                                          D 100% of fair market value, up to
     Schedule A/8:                                                                          any applicable statutory limit



Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                     page 2
                                             Case 19-26536-RAM                                 Doc 1          Filed 12/11/19           Page 23 of 59

  Fill in this information t~ identify your case :

  Debtor 1           ESTHER MARCELIN
                      First Name                          Middle Name                         Last Name


  Debtor 2
  (Spou se, ~ filing) First Name                          Middle Name                         Last Name


  United states Bankruptcy c ourt for the : SOUTH ERN DISTRICT OF FLORIDA

  Case number
  (If known)                                                                                                                                                          D   Check if this is an
                                                                                                                                                                          amended fi ling


  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                              12/15

  Be as complete and acc urate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
  addit ional pages, write y our name and case number (if known) .


 1. Do any cred itors have claims secured by your property?
      D      No. Check this box and submit thi s fo rm to the cou rt w ith yo ur other sched ules . You have nothing else to report on th is form.
      ~      Yes. Fill in all of the information below.


•:.r. • • ~ List All Secu red Claims
                                                                                                                                       Column A               Column B                  Column C
 2. List all secured claims. If a creditor has more tha n one secured claim , list the creditor separately                             Amount of claim        Value of collateral       Unsecured
    for each claim. If more than one cred ito r has a particular cla im , list the other cred itors in Part 2.                                                that supports this        portion
                                                                                                                                       Do not deduct the
    As much as possible, list the cla ims in alphabetical order according to the creditor's name.                                      value of collateral.   claim                     If any

IT]        CAPITAL ONE AUTO FINAN                                      Describe the property that secures the claim:                   $    14180.00          $    5075.00          $   9105.00
      Credfor's Name

           390 1 DALLAS PKWY                                       I VEHICLE SONATA SPORT HYUNDAI
      Number           Street

                                                                       As of the date you file, the claim is: Check all that apply.
                                                                                                                                      I
                                        :
           PLANO                                      75093
                                                                       •      Contingent
                                            TX                         D      Unliquidated
      City                                  State   ZIP Code
                                                                       D      Disputed
   Who owes the debt? Check one.                                       Nature of lien. Check all that apply.
   l;iJ'   Debtor 1 only                                               i;a"   An agreement you made (such as mortgage or secured
  •        Debtor 2 only                                                      car loan)

  •        Debtor 1 and Debtor 2 only                                  •      Statutory lien (such as tax lien , mechanic's lien)

  •        At least one of the debtors and another                     •      Judgment lien from a lawsuit

  •        Che ck if this claim relates to a
                                                                       •      Other (including a right to offset)

           commun ity debt
   Date debt was incurred                                              Last 4 digits of account number              1001
~                                                                      Describe the property that secures the claim:                  $                       $                     $
      Cred~or's Name               II


      Number           Street                                      I                                                                  I
                                                                       As of the date you file, the claim is: Check all that apply.
                                                                       •      Contingent
                                                                       D      Unliquidated
      City                                  State   ZIP Code
                                                                       D      Disputed
  Who owes the debt? Check one.                                        Nature of lien. Check all that apply.

  •        Debtor 1 only
                                                                       •      An agreement you made (such as mortgage or secured
  •        Debtor 2 only                                                      car loan)

  •        Debtor 1 and Debtor 2 only                                  •      Statutory lien (such as tax lien , mechanic's lien)

  •        At least one of the debtors and another                     •      Judgment lien from a lawsuit

  •        Check if th is clai m relates to a
                                                                       •      Other (including a right to offset)

           commun ity debt
   Date debt was incurred                                              Last 4 digits of account number
                                                               '
      Add the dollar val ue of your entries in Column A on this page. Write that number here:                                         lsI           Hrno I
 Official Form 106D                                       Schedule D: Creditors Who Have Claims Secured by Property                                                            page 1
                                    Case 19-26536-RAM                       Doc 1          Filed 12/11/19                 Page 24 of 59
 Fill in this information ~o identify your case:


  Debtor 1          ESTHER MARCELIN
                     First Name                     Middle Name              last Name

  Debtor 2
 (Spouse, if filing) First Name                     Middle Name              Last Name


  United states Ban kruptcy c ourt for the :      SOUTHERN DISTRICT OF FLORIDA
                                                                                                                                                     D   Check if this is an
 Case number
  (If known )
                                                                                                                                                         amended fi ling


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/8: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Cont inuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

                  List All of     our PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
    ~ No. Go to Part 2.
    D Yes .
2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured cla im, list the creditor separately for each cla im. For
    each cla im listed , identify what type of claim it is. If a claim has both priority and nonpriority amounts , list that claim here and show both priority and
    nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
    unsecured claims , fi ll out the Conti nuation Page of Part 1. If more than one creditor holds a particular cla im, list the other cred ito rs in Part 3.
    (For an explan ation of each type of cla im , see the instructions for th is fo rm in the instruction booklet.)
                                                                                                                                     Total claim   Priority        Non priority
                                                                                                                                                   amount          amount

D     -   --
      Priority    - -Name
               Creditor's - -- - - - - - - - - - -                  Last 4 digits of account number _           _     _    _    $ _ _ _ _ _ _ $ _ __ _ _ $_ _ __ _

                                                                    When was the debt incurred?
      Number            Street

                                                                    As of the date you file, the claim is : Check all that apply.

      C~y                                 State      ZIP Code
                                                                    D   Contingent
                                                                    D   Unliqu idated
      Who incurred the debt? Check one .
                                                                    D   Disputed
      0      Debtor 1 only
      D      Debtor 2 only                                          Type of PRIORITY unsecured claim:
      D      Debtor 1 and Debtor 2 only
                                                                    D   Domestic support obligations
      D      At least one of the debtors and another
                                                                    D   Taxes and certain other debts you owe the government
      0      Check if this claim is for a commu nity debt           D   Claims for death or persona l injury whi le you were
                                                                        intoxicated
      Is the claim subject to offset?
      0      No                                                     D   Other. Specify _ _ _ _ _ _ _ _ _ _ __ __

      0      Yes

12.2 I _______ __ __                                                Last 4 digits of account number _           _    _     _        $ _ _ __   _   $_ _ _ __ $_ _ _ __
      Priority Creditor's Name
                                                                    When was the debt incurred?
      Number            Street
                                                                    As of the date you file, the claim is : Check all that apply.
                                                                    D   Contingent
      City                                State      ZIP Code       D   Unliqu idated

      Who incurred the debt? Check one.                             D   Dis puted

      0      Debtor 1 only
                                                                    Type of PRIORITY unsecured claim :
      D      Debtor 2 only
                                                                    D   Domestic support obligations
      0      Debtor 1 and Debtor 2 only
      D      At least one of tha debtors and another
                                                                    0   Taxes and certain other debts you owe the govern ment
                                                                    D   Claims for death or personal injury wh ile you were
      0      Check if this claim is for a community debt                intoxicated
                                                                    0
      Is the claim subject to offset?
      0 No
      D      Yes
                                                                        Other. Specify _ __ _ _ __ _ _ __ _ __

                                                                                                                                     _ _ _J
Offici al Form 106E/F                                        Schedule EIF : Creditors Who Have Unsecured Claims                                               page 1
 Debtor 1             ESTHER MARCELIN   Case 19-26536-RAM                                    Doc 1      Filed 12/11/19     Page
                                                                                                                   Case number (if known)25
                                                                                                                                         __ of_59
                                                                                                                                               _ _ _ _ _ _ _ _ _ __                                  _
                     First Name        Middle Name                    Last Name



•,,,                List All of      our NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      D     No. You have nothing to report in th is part. Subm it th is form to the court with your other schedules.
      !;a ves
  4. List all of your non priority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim , list the cred itor separately for each cla im. For each claim listed , identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particula r claim , list the other creditors in Part 3.lf yo u have more than three nonpriority unsecured
     claims fill out the Con tinuation Page of Part 2.

                                                                                                                                                                                       Total claim

El      ACS/FLORIDA INT UNIV
       -N-on_p_rio- ,i~ty~C~re-d~ito_r'_s ~Na
                                            _ll'_e_ _ __ _ __   _     _   _ _ _ _ _ _ __
                                                                                                     Last 4 digits of account number           4AD_§__ _ _
                                                                                                                                                                                   $~6~2~05~.0~0~,
       UNIV PARK CAMPUS
                                                                                                     When was the debt incurred?                5/31 /06
       Number             Street
       MIAM I                                                    FL
       City                                                     State             ZIP Code           As of the date you file, the claim is: Check all that apply.

                                                                                                     D       Contingent
       Who incurred the debt? Check one.                                                             D       Unliquidated
       ~      Debtor 1 only                                                                          D       Disputed
       D      Debtor 2 only
       D      Debtor 1 and Debtor 2 only                                                             Type of NONPRIORITY unsecu red claim :
       D      At least one of the debtors and another                                                Iii' Student loans
       D      Check if this claim is for a community debt                                            D       Obligations aris ing out of a separation agreement or divorce
                                                                                                             that you did not report as priority claims
       Is the claim subject to offset?                                                               D       Debts to pension or profit-sharing plans, and other simi la r debts
       ~      No                                                                                     D       Other. Specify _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
       D      Yes


4.2    BAPTIST HEALTH SOUTH F                                                                        Last 4 digits of account number            2224             _                 $_~2~8~0-~00~
       Nonpriority Creditor's Name                                                                   When was the debt incurred?                "87f9/J9
       13200 SW 128TH ST STE Cl
       Number             Street
                                                                                   33186             As of the date you file, the claim is : Check all that apply.
       City                                                     State             ZIP Code
                                                                                                     D       Contingent
       Who incurred the debt? Check one .                                                            D       Unliquidated

       ~      Debtor 1 only
                                                                                                     D       Disputed

       D      Debtor 2 only
                                                                                                     Type of NONPRIORITY unsecured claim :
       D      Debtor 1 and Debtor 2 only
       D      At least one of the debtors and another                                                D       Student loans
                                                                                                     D       Obligations arising out of a separation ag reement or divorce
       D      Check if this claim is for a community debt                                                    that you did not report as priority claims
       Is the claim subject to offset?                                                               D       Debts to pension or profit-sharing plans, and other similar debts

       ~      No                                                                                     ~       Other. Specity _O=--'-T-'-H-'--'E=-R'-'------------
       D      Yes

4.3
       BAPTIST HEALTH SOUTH F
       Nonpriority Creditor's Name
                                                                                                     Last 4 digits of account number

                                                                                                     When was the debt incurred?
                                                                                                                                               222.fL _ _
                                                                                                                                                 6/1 0/19
                                                                                                                                                                                   $      3667.oo        I
       13200 SW 128TH ST STE Cl
       Number             Street
       MIAMI                                                     FL                33186
                                                                                                     As of the date you file, the claim is: Check all that apply.
       City                                                     State             ZIP Code

       Who incurred the debt? Check one .
                                                                                                     D       Contingent
                                                                                                     D       Unl iquidated
       !;a' Debtor 1 on ly                                                                           D       Disputed
       D Debtor 2 only
       D Debtor 1 and Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
       D At least one of Iha debtors and another
                                                                                                     D       Student loans
       D      Check if this claim is for a commu nity debt                                           D       Obligations arising out of a separation ag reement or divorce
                                                                                                             that you did not report as priority claims
       Is the cla im subject to offset?
                                                                                                     D       Debts to pension or profit-sharing plans. and other similar debts
       !;a' No
       D Yes                                                                                         i:;I'   Other. Specity ~Q~T~H~E~R~----- -- --




Official Form 106E/F                                                   Schedule E/F : Creditors Who Have Unsecured Claims                                                              page 3
 Debtor 1                   Case 19-26536-RAM
                   ESTHE R MARCELIN                                              Doc 1   Filed 12/11/19     Page
                                                                                                    Case number         26
                                                                                                                (irknown) _ _ of
                                                                                                                               _ 59
                                                                                                                                 _ _ _ _ _ _ _ _ _ _ _ __
                   First Name       Middle Name           Last Name



~ R I O R I T Y Unsecured Claims - Continuation Page


  After listing any entries on this page, number them beginning with 4.4 , followed by 4.5 , and so forth .                                                           Total cla im



EJ     CAPITAL ONE BANK USA N
      Nonpriority Creditor's Name
                                                                                         Last 4 digits of account number        69~ _ _                           $    32s2.ool
       PO BOX 85520
                                                                                         When was the debt incurred?            12/3/15
      Number            Street
                                                                                         As of the date you file, the claim is : Check all that apply.
       RICHMOND                                         VA             23285
      City                                             State          ZIP Code           0   Contingent
                                                                                         0   Unliquidated
      Wh o incurred the debt? Check one .                                                0   Disputed
       ~ Debtor 1 only
       0     Debtor 2 only                                                               Type of NONPRIORITY unsecured claim :
       0     Debtor 1 and Debtor 2 only
                                                                                         0   Student loans
       0     At least one of the debtors and another
                                                                                         0   Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
       0     Check if th is claim is for a community debt
                                                                                         0   Debts to pension or profit-sharing plans , and other similar debts
      Is the clai m subject to offset?                                                   ~   Other. Specify   CREDIT CARD
      ~      No
      0      Yes




EJ     CAPITAL ONE BANK USA N                                                            Last 4 digits of account number        5071_ _         _                 $    1aaa.00
      Nonpriority Creditor's Name
                                                                                                                                                                                     1
                                                                                         When was the debt incurred?            12/14/14
       PO BOX 85520
      Number
       RICHMOND
                        Street
                                                        VA             23285
                                                                                         As of the date you file, the cla im is : Check all that apply.
                                                                                                                                                                                     I
      City                                             State          ZIP Code           0   Contingent
                                                                                         0   Unliquidated
      Who inc urred the debt? Check one.
                                                                                         0   Disputed
      ~ Debtor 1 only
      0      Debtor 2 only                                                               Type of NONPRIORITY unsecured cla im:
      0      Debtor 1 and Debtor 2 only
                                                                                         0   Student loans
      0      At least one of the debtors and another
                                                                                         0   Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
      0      Check if th is claim is fo r a commu nity debt
                                                                                         0   Debts to pension or profit-sharing plans, and other similar debts
      Is the cla im subjec t to offset?                                                  ~   Other. specify   CREDIT CARD
      ~      No
      0      Yes


El     CREDI T ONE BANK NA                                                               Last 4 digits of account number        6331.._ _ _
                                                                                                                                                                  $   945.00 I
      Nonpriority Creditor's Name

       PO BOX 98875
                                                                                         When was the debt incurred?            5/3/19
      Number            Street
       LAS VEGAS                                        NV             89193
                                                                                         As of the date you file , the cla im is: Check all that apply.

      City                                             State          ZIP Code           0   Contingent
                                                                                         0   Unliquidated
      Who incurred the debt? Check one.
                                                                                         0   Disputed
      ~ Debtor 1 only
      0      Debtor 2 only                                                               Type of NONPRIORITY unsecured claim :
      0      Debtor 1 and Debtor 2 only
                                                                                         0   Student loans
      0      At least one of the debtors and another
                                                                                         0   Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
      0      Check if th is cl aim is fo r a community debt
                                                                                         0   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                    ~   other. specify   CREDIT CARD
      ~      No
      0      Yes




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 Debtor 1                   Case 19-26536-RAM
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                                                                                                                        _ _of
                                                                                                                           __ 59_ _ _ _ _ _ _ _ _ _ __
                    First Name       Middle Name          Last Name



Iii                Your NON PRIORITY Unsecured Claims - Continuation Page


  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                 Total claim



                                                                                                                                   291~ _ _
Q
~ ----------=-----,--------
      ~ N E BANK NA
      Nonpriority Creditor's Name
                                                                                         Last 4 digits of account number
                                                                                                                                                                     $    671.00
       PO BOX 98875
                                                                                         When was the debt incurred?               5/21 /18
      Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
       LAS VEGAS                                        NV             89193
      City                                             State          ZIP Code           D      Contingent
                                                                                         D      Unl iquidated
      Who incurred the debt? Check one.                                                  D      Disputed
       i;a   Debtor 1 only
       D     Debtor 2 only                                                               Type of NONPRIORITY unsecured claim :
       D     Debtor 1 and Debtor 2 only
                                                                                         D      Student loans
       D     At least one of the debtors and another
                                                                                         D      Obligations arising out of a separation agreement or divorce that
                                                                                                you did not report as priority claims
       D     Check if this cla im is for a community debt
                                                                                         D      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                    i;a    Other. Specify   CREDIT CARD
      lti    No
      D      Yes



4.8
       FEDLOAN SERVICING                                                                 Last 4 digits of account number           001~ _ _                          $   176705.00
      Nonpriority Creditor's Narre

       P.O. BOX 530210
                                                                                         When was the debt incurred?               6/14/18
      Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
       ATLANTA                                          GA             30353-0210
      City                                             State          ZIP Code           D      Contingent
                                                                                         D      Unliquidated
      Who incurred the debt? Check one.                                                  D      Disputed
      ~ Debtor 1 only
      D      Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
      D      Debtor 1 and Debtor 2 only
                                                                                         liZf   Student loans
      D      At least one of the debtors and another
                                                                                         D      Obligations arising out of a separation agreement or divorce that
                                                                                                you did not report as priority claims
      D      Check if this cla im is for a community debt
                                                                                         D      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                    D      Other. Specify_ _ _ _ _ _ _ _ _ _ _ __

      ~      No
      D      Yes


4.9
                                                                                                                                                                     $    1084.00
       MACYS/DSNB                                                                        Last 4 digits of account number           207~ _ _
      Nonpriority Creditor's Name

       9111 DUKE BLVD
                                                                                         When was the debt incurred?               5/16/18
      Number             Street
       MASON                                            OH             45040
                                                                                         As of the date you file, the claim is : Check all that apply.

      City                                             State          ZIP Code           D      Contingent
                                                                                         D      Unliquidated
      Who incurred the debt? Check one.                                                  D      Disputed
      ~ Debtor 1 only
      D      Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
      D      Debtor 1 and Debtor 2 only
                                                                                         D      Student loans
      D      At least one of the debtors and another
                                                                                         D      Obligations arising out of a separation agreement or divorce that
                                                                                                you did not report as priority claims
      D      Check if this claim is for a community debt
                                                                                         D      Debts to pension or profit-sharing plans , and other similar debts
      Is the claim subject to offset?                                                    !;a    Other. Specify   CREDIT CARD
      ~      No
      D      Yes




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 Debtor 1             ESTHER          Case 19-26536-RAM
                                      ARCELIN                                      Doc 1   Filed 12/11/19     Page
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                                                                                                                 (if known) _  __ 59_ _ _ _ _ _ _ _ _ __
                     First Name      Middle Name            Last Name



~ I O R I T Y Unsecured Claims - Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                   Total claim


w
D       NORDSTROM/TD BANK USA                                                              Last 4 digits of account number         ~6JL __                            $    218.00
       Nonpriority Creditor's Name

        13531 E CALEY AVE
                                                                                           When was the debt incurred?              10/29/18
       Number             Street
                                                                                           As of the date you file, the claim is : Check all that apply.
        ENGLEWOOD                                         co             80111
       City                                              State          ZIP Code           D     Contingent
                                                                                           D     Unliquidated
       Who incurred the de t? Check one.                                                   D     Disputed
       i;a     Debtor 1 only
       D       Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
       D       Debtor 1 and Debtor 2 only
                                                                                           D     Student loans
       D       At least one of the debtors and another
                                                                                           D     Obligations arising out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
       D       Check if this claim is for a community debt
                                                                                           D     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     i;a   Other. specify   CREDIT CARD
       -z1     No
       D       Yes



4.11
        PROFESSIONAL DEBT                                                                  Last 4 digits of account number         ..Q.! 5..§_ _ _                    $    6307.00
       Nonpriority Creditor's Name

        7948 BAYMEADOWS WAY FL 2
                                                                                           When was the debt incurred?              2/24/15
       Number             Street
                                                                                           As of the date you file, the claim is: Check all that apply.
        JACKSONVILLE                                      FL             32256
       City                                              State          ZIP Code           D     Contingent
                                                                                           D     Unliquidated
       Who incurred the debt? Check one.                                                   D     Disputed
       ~ Debtor 1 only
       D Debtor 2 only                                                                     Type of NONPRIORITY unsecured claim :
       D       Debtor 1 and Debtor 2 only
                                                                                           D     Student loans
       D       At least one of the debtors and another
                                                                                           D     Obligations arising out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
       D       Check if this claim is for a community debt
                                                                                           D     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     -z1   Other. specify   COLLECTION
       i'.:i   No
       D       Yes


4.12                                                                                                                                                                  $    1000.00
        PROGRESSIVE LEASlf\G                                                               Last 4 digits of account number          785~ _ _
       Nonpriority Creditor's Name

        256 WEST DATA DRIVE
                                                                                           When was the debt incurred?              9/20/19
       Number             Street
                                                                                           As of the date you file, the cla im is: Check all that apply.
        DRAPER                                            UT             84020

       City                                              State          ZIP Code           D     Contingent
                                                                                           D     Unliquidated
       Who incurred the debt? Check one.                                                   D     Disputed
       ~ Debtor 1 only
       D       Debtor 2 on ly                                                              Type of NONPRIORITY unsecured claim:
       D       Debtor 1 and Debtor 2 only
                                                                                           D     Student loans
       D       At least one of the debtors and another
                                                                                           D     Obligations arising out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
       D       Check if this claim is for a community debt
                                                                                           D     Debts to pension or profit-sharing plans , and other similar debts
       Is the claim subje t to offset?                                                     !;a   Other. specify   FURNITURE LEASE TO OWN
       i'.:i   No
       D       Yes
                                                                   ---------

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    Debtor 1           ESTHER MARCELIN   Case 19-26536-RAM                          Doc 1   Filed 12/11/19     Page
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                                                                                                                                __ 59_ _ _ _ _ _ _ __ __
                      First Name       Middle Name           Last Name



                     Your NONPRIORITY Unsecured Claims - Continuation Page


    After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                 Total cla im


Q
D         RESORT COM INTERNATION AL                                                         Last 4 digits of account number          4252._ _ _                        $    6103.00
         Nonpriority Creditors Name

          6850 BERMUDA RD
                                                                                            When was the debt incurred?              10/13/17
         Number            Street
                                                                                            As of the date yo u file, the claim is : Check all that apply.
          LAS VEGAS                                        NV             891 19
         City                                             State          ZIP Code           D     Contingent
                                                                                            D     Unliquidated
         Who incurred the debt? Check one.                                                  D     Disputed
         ~ Debtor 1 only
         D      Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
         D      Debtor 1 and Debtor 2 only
                                                                                            D     Student loans
         D      At least one of the debtors and another
                                                                                            D     Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
         D      Che ck if this clai m is for a community debt
                                                                                            D     Debts to pension or profit-sharing plans , and other similar debts
         Is the cla im subject to offset?                                                   ~ other. specity VACATION MEMBERSHIP LOA
         -zl    No
         D      Yes

I


B         TELECOM SELF-REPORTED                                                             Last 4 digits of account number          6D~ _ _                           $100.00
         Nonpriority Creditor's Name
                                                                                            When was the debt incurred?
          PO BOX 4500
         Number            Street
                                                                                            As of the date you file, the claim is : Check all that apply.
          ALLEN                                            TX             75013
         City                                             State          ZIP Code           D     Contingent
                                                                                            D     Unliquidated
         Who incurred the debt? Check one .                                                 D     Disputed
         ~ Debtor 1 only
         D      Debtor 2 only                                                               Type of NONPRIORITY unsecured cla im:
         D      Debtor 1 and Debtor 2 only
                                                                                            D     Student loans
         D      At least one of the debtors and another
                                                                                            D     Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report.as priority claims
         D      Chec k if th is clai m is for a commun ity debt
                                                                                            D     Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                    -zi   Other. Specity_O_T_H_E_R_    _ __        _   _   _   _
         -zl    No
         D      Yes



                                                                                            Last 4 digits of account number          30DE _            _
                                                                                                                                                                       $ 50.001
          TELECOM SELF-REPORTED
         Nonpriority Creditors Name
                                                                                            When was the debt incurred?
          PO BOX 4500
         Number            Street
                                                                                            As of the date you file, the cla im is: Check all that apply.
          ALLEN                                            TX             75013

         City                                             State          ZIP Code           D     Contingent
                                                                                            0     Unliquidaled
         Who incurred the debt? Check one .                                                 D     Disputed
         ~ Debtor 1 only
         D      Debtor 2 only                                                               Type of NONPRIORITY unsecured cla im :
         D      Debtor 1 and Debtor 2 only
                                                                                            D     Student loans
         D      Al least one of the debtors and another
                                                                                            D     Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
         D      Check if this cla im is for a community debt
                                                                                            D     Debts to pension or profit-sharing plans , and other similar debts
         Is the claim subje t to offset?                                                    ~ Other. Specity_O_ T_ H_E_R_ _ _ _ _ __ _
         -1
         D
                No
                Yes
                                                      I
Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 4
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                                                                                                                   (if known)_  __ 59
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                      First Name             Middle Name      Last Name



                     Your NONP IORITY Unsecured Claims - Continuation Page


    After listing any entries on this page , number them beginning with 4.4, followed by 4.5 , and so forth.                                                                Total claim


~
D         UTILITY SELF-REPORTED                                                              Last 4 digits of account number          FC7 4 _         _                 $    129.00
         Nonpriority Creditors Name
                                                                                             When was the debt incurred?
          PO BOX4500
         Number            Street
                                                                                             As of the date you file, the claim is : Check all that apply.
          ALLEN                                             TX             75013
         City                            I                 State          ZIP Code           0     Contingent
                                                                                             0     Unliquidated
         Who incurred the de t? Check one.                                                   0     Disputed
         ~ Debtor 1 only
         0      Debtor 2 only                                                                Type of NONPRIORITY unsecu red cla im:
         0      Debtor 1 and Debtor 2 only
                                                                                             0     Student loans
         0      At least one of the debtors and another
                                                                                             0     Obligations arising out of a separation ag reement or divorce that
                                                                                                   you did not report as priority claims
         0      Check if this clai m is for a community debt
                                                                                             0     Debts to pension or profit-sharing plans, and other similar debts
         Is the cla im subject to offset?                                                    ~ Other. Specify_O_T_H_E_R_ _ _ _ _ _ __
         .zj    No
         0      Yes

                                         I
EJ'       WEBBANK/FINGERHUT                                                                  Last 4 digits of account number          795J_ _ _                         $   277.00
         Nonpriority Creditors Name

          6250 RIDGEWOOD RD
                                                                                             When was the debt incurred?              9/5/19
         Number            Street
                                                                                             As of the date you file, the claim is : Check all that apply.
          SAINT CLOUD                                       MN             56303
         City                                              Stale          ZIP Code           0     Contingent
                                                                                             0     Unliquidated
         Who incurred the debt? Check one .                                                  0     Disputed
         ~ Debtor 1 only
         0      Debtor 2 only                                                                Type of NONPRIORITY unse cu red cla im:
         0      Debtor 1 and Debtor 2 only
                                                                                             0     Student loans
         0      At least one of the debtors and another
                                                                                             0     Obligations arising out of a separation ag reement or divorce that
                                                                                                   you did not report as priority claims
         0      Ch eck if th is cla im is for a community debt
                                                                                             0     Debts to pension or profit-sharing plans, and other similar debts
         Is the cla im subject to offset?                                                    .z1   Other. Specify CREDIT CARD
         ~      No
         0      Yes
                                    '!


LJ                                                                                           Last 4 digits of account number _ _ _                   _
                                                                                                                                                                        $_ _ _ _ _ ,

I        Nonpriority Creditors Name
                                                                                             When was the debt incurred?

         Number            Street
                                                                                             As of the date you file, the cla im is : Check all that apply.

         City                                              State          ZIP Code           0     Contingent
                                                                                             D     Unliquidated
         Who incurred the debt? Check one.                                                   0     Disputed
         0      Debtor 1 on ly
         0      Debtor 2 only                                                                Type o f NONPRIORITY unse cured cla im:
         0      Debtor 1 and Debtor 2 only
                                                                                             0     Student loans
         0      At least one of the debtors and another
                                                                                             0     Obligations arising out of a separation agreement or divorce that
                                                                                                   you did not report as priority claims
         0      Chec k if th is clai m is for a community debt
                                                                                             0     Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                     0     Other. Specify_ _ __ _ _ _ _ _ _ _ __

         0      No
         0      Yes




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                                                                                                                               _ _ _ _ _ _ _ _ _ __
                 First Name    Middle Name           Last Name



                List Others t o Be Notified About a Debt That You Already Listed

  s. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
     example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
     2, then list the collecti on agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
     additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

                                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                              Line          of (Check one) :   D   Part 1: Creditors with Priority Unsecured Claims
       Number         Street                                                                                   D   Part 2: Creditors with Nonpriority Unsecured Claims

                                                                              Last 4 digits of account number _ _ _ _

       City                                  State               ZIP Code


                                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                               Line         of (Check one) :   •   Part 1: Creditors w ith Priority Unsecured Claims
       Number         Street
                                                                                                               D   Part 2: Creditors with Nonpriority Unsecured
                                                                               Claims

                                                                               Last 4 digits of account number _         __ _
       City                                  State               ZIP Code


                                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                               Line         of (Check one):    D   Part 1: Creditors with Priority Unsecured Claims
       Number         Street
                                                                                                               D   Part 2: Creditors with Nonpriority Unsecured
                                                                               Claims


                _ _ _ _ _ _ _ _ _ _state
                                                                               Last4digitsofaccountnumber _              __ _
       City                                                      ZIP Code

                                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                               Line         of (Check one):    D   Part 1: Creditors with Priority Unsecured Claims
       Number         Street
                                                                                                               D   Part 2: Creditors with Nonpriority Unsecured
                                                                               Cla ims

                                                                               Last 4 digits of account number _         __ _
       City                                  State               ZIP Code


                                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                               Line         of (Check one) :   D   Part 1: Creditors with Priority Unsecu red Claims
       Number         Street                                                                                   D   Part 2: Creditors with Nonpriority Unsecured
                                                                               Claims

                                                                               Last 4 digits of account number _ _ _ _
       Cit                                   State               ZIP Code

                                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                               Line         of (Check one) :   D   Part 1: Creditors with Priority Unsecu red Claims
      Number          Street
                                                                                                               D   Part 2: Creditors with Nonpriority Unsecured
                                                                               Claims

                                                                               Last 4 digits of account number _         __ _
       City                                  State               ZIP Code


                                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
      Name



      Number          Street
                                                                               Line         of (Check one):    •   Part 1: Creditors with Priority Unsecured Claims
                                                                                                               D   Part 2: Creditors with Nonpriority Unsecured
                                                                               Claims


      City                                   State               ZIP Code
                                                                               Last 4 digits of account number _         __ _



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                First Name    Middle Name          Last Name



            Add the Amounts for Each Type of Unsecured Claim


 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                            Total claim


                 6a. Domestic support obligat ions                                6a.                          0.00
 Total claims                                                                               $
 from Part 1
                 6b. Taxes and certain other debts you owe the
                     government                                                   6b.       $                  0.00
                 6c. Claim for death or personal injury while you were
                     intoxicated                                                  6c.                          0.00
                                                                                            $

                 6d . Other. Add all other priority unsecured claims.
                      Write t at amount here.                                     6d.   + $                    0.00


                 6e. Total . Add lines 6a through 6d .                           6e .
                                                                                            $                  0.00


                                                                                            Total claim

                 6f. Student loans                                               6f.
Total claims                                                                                $             182910.00
from Part 2
                 69. Obligations arising out of a separation agreement
                     or divorce that you did not report as priority
                     claim s                                                     69 .       $                  0.00
                 6h. Debts to pension or profit-sharing plans, and other
                     similar debts                                               6h .       $                  0.00

                 6i. Other. Add all other nonpriority unsecured claims.
                     Write that amount here.                                     6i.    +   $              25971.00


                 6j. Total. Add lines 6f through 6i.                             6j .
                                                                                            $             208881.00

                                                                                        ------                                              ---·




Official Form 106E/F                                   Schedule E/F : Creditors Who Have Unsecured Claims                           page 14
                                        Case 19-26536-RAM              Doc 1        Filed 12/11/19           Page 33 of 59
                                    I
  Fill in this information to identify your case:


  Debtor               ESTHER MARCELIN
                       First Name                   Middle Name         Last Name


  Debtor 2
  (Spouse If filing)   First Name                   Middte Name         last Name


  United States Bankruptcy Court for the:
                                            SOUTHERN DISTRICT OF FLORIDA

  Case number
     (If known)                                                                                                                            D   Check if this is an
                                                                                                                                               amended filing


Official Form 1 6G
Schedule G: Executory Contract s and Unexpired Leases                                                                                                    12/15

Be as complete and ace rate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed , copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write our name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
         D No. Check this box and file this form with the court with your other schedules . You have nothing else to re port on this form .
         li2f Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/8: Property (Official Form 106NB).
 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, veh icle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



         Person or company with whom you have the contract or lease                             State what the contract or lease is for


12.1

         WILLIE MAES INHOSTER                                                             RENT
           ame
          2094 SOUTHEAST 17TH STREET
         Number           Street
          HOMESTEAD                       FL              33035
         City                               State         ZIP Code




I        Name


         Number


         City
                          Street


                                            State        ZIP Code

2.3
     J


II         ame


         Number           Street



         City                               State         ZIP Code



~
          ame


         Number          Street


         City                               State         ZIP Code




Official Form 106G                                  Schedule G: Executory Contracts and Unexpired Leases                                              page 1
                                             Case 19-26536-RAM                      Doc 1        Filed 12/11/19       Page 34 of 59
 Fill in this information to identify your case:

 Debtor 1               ESTHER MARCELIN
                         First Name                     Middle Name                  Last Name

  Debtor 2
 (Spouse,    ~   fi ling) First Name                    Middte Name                  Last Name


  United states Bankruptcy c ourt tor the:         SOUTHERN DISTRICT OF FLORIDA

 Case number
  (If known)
                                                                                                                                                   0   Check if this is an
                                                                                                                                                       amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                       12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number {if known). Answer every question.
r-
 1. Do you have any codebtors? (If you are fil ing a joint case, do not list either spouse as a codebtor.)
      i;2I   No
      0      Yes
 2. Within the last 8 years , have you lived in a community property state or territory? (Community property states and territories include
    Arizona , Californ ia, Idaho, Louisiana , Nevada , New Mexico, Puerto Rico, Texas, Wash ington , and Wisconsin .)
      li1    No. Go to line 3.
      0      Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
             0      No
             0      Yes. In which commun ity state or territo ry did you live? _ _ _ _ _ _ _ _ . Fill in the name and current add ress of th at person.



                     Name of your spouse, fonmer spouse, or legal equivalent



                     Number             Street



                     City                                             State                      ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
     shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
     Schedule D {Official Form 106D), Schedule E/F {Official Form 106E/F), or Schedule G {Official Form 106G). Use Schedule D,
     Schedule EIF, or chedule G to fill out Column 2.

       Column 1: Your codebtor                                                                                   Column 2: The creditor to whom you owe the debt

                                                                                                                 Check all schedules that apply:

~         Name
                                                                                                                  D   Schedule D, line _ __
                                                                                                                  •   Schedule E/F, line _ __
          Number               Stree                                                                              D   Schedule G, line _ __

          City                                                           State   - - - - - --=
                                                                                             Z l-P-"
                                                                                                 '- C=ode _ __

3.2
          Name
                                                                                                                  D   Schedule D, line _ __
                                                                                                                  •   Schedule E/F, line _ __
          Number               Street                                                                             D   Schedule G, line _ __

          City                                                           State                    ZIP Code

3.3
                                                                                                                  D   Schedule D, line _ __
          Name
                                                                                                                  •   Schedu le E/F, line _ __
          Number               Street                                                                             D   Schedule G, line _ __

          City                                                           State                    ZIP Code


                                                                                                                                                            page 1
Official Form 106H                                                               Schedule H: Your Codebtors
                                             Case 19-26536-RAM             Doc 1        Filed 12/11/19               Page 35 of 59

  Fill in this information to identify your case:
                                         i



  Debtor 1                ESTHER MARCELIN
                          First Name                  Middle Name          Last Name

  Debtor 2
  (Spouse,     ~   filing) First Nama                 Middle Name          Last Name


  united s tates Bankruptcy c ourt tor the:        SOUTHERN DISTRICT OF FLORIDA

  Case number                                                                                                     Check if this is:
      (If known)
                                                                                                                  D An amended filing
                                                                                                                  D A supplement showing postpetition chapter 13
                                                                                                                     income as of the following date:
Official Form 1061                                                                                                   MM / DD/ YYYY

Schedule I: Your Income                                                                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


•§fl                     Describe Employment


 1.    Fill in your employment
       information.                                                               Debtor 1                                       Debtor 2 or non-filing spouse

        If you have more than one job,
        attach a separate page with
        information about additional                Employment status          6'1 Employed                                      D    Employed
        employers .                                                            D Not employed                                    D    Not employed
        Include part-time , seasonal, or
        self-employed work.
                                                    Occupation               SR. FIN ANALYST
        Occupation may include student
        or homemaker, if it applies.
                                                    Employer's name         BAPTIST HEALTH SO FL

                                                    Employer's address       1500 SAN REMO AVENUE
                                                                               Number   Street                                 Number    Street




                                                                             CORAL GABLES FL                      33146
                                                                               City              State   ZIP Code              City                  State   ZIP Code

                                                    How long employed there?      4.5 YEARS


•§f          •          Give Details About Monthly Income

       Estimate monthly i come as of the date you file this form . If you have nothing to report for any line, write $0 in the space . Include your non-filing
       spouse unless you are separated .
       If you or your non-fil ng spouse have more than one employer, combine the information for all employers for that person on the lines
       below. If you need more space, attach a separate sheet to this form.

                                                                                                             For Debtor 1       For Debtor 2 or
                                                                                                                                non-filing spouse
  2. List monthly gross wages, salary , and commissions (before all payroll
     deductions). If not oaid monthly, calculate what the monthly wage would be.                 2.
                                                                                                         $      6339.38           $

  3. Estimate and list                  onthly overtime pay.                                     3. +$              0.00       + $


 4. Calculate gross income. Add line 2 + line 3.                                                               6339.38
                                                                                                 4.      $
                                                                                                                            II    $



Official Form 1061                                                       Schedule I: Your Income                                                             page 1
                                               Case 19-26536-RAM                                          Doc 1               Filed 12/11/19                    Page 36 of 59
Debtor 1              ESTHER MARCELIN                                                                                                                  Case number (if known) _ _ _ _ _ __   _ _ _ _ _ _ __
                      First Name             Middle Name                    Last Name



                                                                                                                                                   For Debtor 1             For Debtor 2 or
                                                                                                                                                                            non-filing spouse
                                                                                                                                                                              $ _ _ _ _ __
      Copy line 4 here ............. ...... ................ .... .. .. ... ... ...... ................ .... .. .... .... ........ ..   -+ 4 .     $       6339.38

 5. Indicate whether you have the payroll deductions below:

        5a . Tax, Medicare, and Social Security deductions                                                                                 5a .    $          455.91          $
        5b. Mandatory contributions for retirement plans                                                                                   5b.     $          542.40          $
        5c. Voluntary contributions for retirement plans                                                                                   5c.     $            0.00          $
        5d . Required repayments of retirement fund loans                                                                                  5d .    $            0.00          $
        5e. Insurance                                                                                                                      5e.     $          286.32          $
        5f. Domestic supp ort obligations                                                                                                  5f.     $            0.00          $

        5g. Union dues                                                                                                                     5g .    $            0.00          $
        5h. Other deductions. Specify : _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                                       5h . +$            467.46      +   $

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e + 5f + 5g + 5h . 6.                                                               $       1752.09            $
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4 .                                                                    7.     $       4587.29            $

 a.    List all other income regularly received :
        Ba. Net income from rental property and from operating a business,                                                                  Ba .   $        -10.00                $
            profession , or farm
              Attach a statement for each property and business showing gross receipts, ordinary and
              necessary business expenses, and the total monthly net income.


        Bb. Interest and di idends                                                                                                                      0._0_0
                                                                                                                                                   $_ _ _                         $_ _ _ _ __

        Bc. Family support payments that you , a non-filing spouse, or a dependent                                                                 $_ _ 400.00
                                                                                                                                                        _ __                      $_ _ _ __
            regularly receive
              Include alimony, spousal support, child support maintenance, divorce settlem ent, and
              property settlement.

        Bd . Unemployment compensation                                                                                                             $           0.00               $_ _ _ __
                                                                                                                                                    -----
        Be . Social Security                                                                                                                           0.00                       $_ _ _ __
                                                                                                                                                   $
                                                                                                                                                    -----
        Bf. Other government assistance that you regularly receive
              Include cash assistance and the value (if known) of any non-cash assistance that you
              rece ive, such as food stamps or housing subsidies.
              Specify (Debtor 1):                            Specify (Debtor 2 or Non-Filing Spouse):


                                                                                                                                                   $            0.00              $


        Bg . Pension or retirement income
                                                                                                                                                   $           0.00               $
        Bh. Other monthly income.
              Specify (Debtor 1):                           Specify (Debtor 2 or Non-Filing Spouse):

               NONE
                                                                                                                                                   $           0 00               $

9.     Add all other inco me. Add lines Ba + Bb + Bc + Bd + Be + Bf +Bg + Bh.                                                                      $        390.00            $

10. Calculate monthly income. Add line 7 + line 9.
      Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
                                                                                                                                                   $       4977.29      +     $          o.oo 1= 1 $       4977.291 1

11. State all other reg ular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other friends or
      relatives. Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expen ses listed in Schedule J.


      Specify: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -                                                                                                          11. + $            0.00
                                                                                                                                                                                                    .:===:::::::::::::=-.
12. Add the amount in the last column of line 10 to the amount in line 11. The resu lt is th e combined month ly income.
                                                                                                                                                                                              12.          4977.29
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Inform ation, if it applies
                                                                                                                                                                                                    Combined
12. Do you expect an increase or decrease within the year after you file this form?                                                                                                                 monthly income
     liZJ No.
        D     Yes. Explain :


Official Form 1061                                                                                    Schedule I: Your Income                                                                           page 2
                                    Case 19-26536-RAM                     Doc 1          Filed 12/11/19            Page 37 of 59
Fill in this information to identify your case:
                                I



Debtor 1           ESTHER MARCELIN
                   First Name                 Middle Name                 Last Name

Debtor 2                                                                                                      Check if this is:
(Spouse, [ filing) First Name                 Middle Name                 Last Name
                                                                                                              D    An amended fi ling
United states Bankruptcy c ourt for the:   SOUTHERN DISTR ICT OF FLORIDA                                      D    A supplement showing postpetition chapter 13
                                                                                                                   income as of the following date:
Case number
(If known)
                                                                                                                   MM / DD / YYYY



Attachme t on Additional Employment/Businesses                                                                                                               12/15


Fill in information about your                      EMF CONSULTANTS
                                                   Name of second business, if any
additional sole pro rietorship
business                                            22511 SOUTHWEST 88TH PLACE
                                                   Number      Street



                                                    CUTLER BAY                                                    FL        33190
                                                     City                                                         State     ZIP Code

                                                   Check the appropriate box to describe your business:

                                                   0    Health Care Business (as defined in 11 U.S.C. § 101 (27A))

                                                   0    Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                   0    Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                   0    Commod ity Broker (as defined in 11 U.S.C. § 101(6))

                                                   ~ None of the above

 Fill in information about
 your additional                                                            Debtor 1                                      Debtor 2 or non-filing spouse
 employments
                                      2. Occupation


                                           Employer's name


                                           Employer's address
                                                                           Number     Street                              Number       Street




                                                                           City                State   ZIP Code           City                  State   ZIP Code

                                           How long employed there?




                                      3. Occupation

                                           Employer's name


                                           Employer's address
                                                                           Number     Street                              Number    Street




                                                                           City                State   ZIP Code           City                  State   ZIP Code

                                           How long employed there?


                                                                        Schedule I: Your Income                                                          pag e 3
                                              Case 19-26536-RAM                      Doc 1            Filed 12/11/19            Page 38 of 59

                                          I
      Fill in this information to identify your case:

      Debtor 1
                           ESTHER MARCELIN
                             First Name               Middle Name                     Last Name                          Check if this is:
      Debtor 2                                                                                                           D An amended filing
      (Spouse,   ~   filing) Fir>t Name               Middle Name                     Last Name

                                                                                                                         D A supplement showing postpetition chapter 13
      United states Bankruptcy c ourt tor the: SOUTHERN DISTRICT OF FLORIDA
                                                                                                                             expenses as of the following date:
      Case number                                                                                                            MM/ DD / YYYY
      (If known)




  Official Form 106J
  Schedule                                    : Your Expenses                                                                                                                   12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
  (if known). Answer every question.

                           Describe Your Household

 1. Is this a joint case?

      liZi'   No. Go to line 2.
       D      Yes. Does Debtor 2 live in a separate household?

                      0     No
                      D     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2,   Do you have dependents?                      0 No                                               Dependent's relationship to             Dependent's         Does dependent live
      Do not list Debtor 1 and                     li1" Yes. Fill out this information for            Debtor 1 or Debtor 2                    age                 with you?
      Debtor 2.                                           each dependent.. ........................
      Do not state the dependents'                                                                    CHILD                                   12                  0       No
      names.                                                                                                                                                      litl'   Yes

                                                                                                      CHILD                                   11                  0       No
                                                                                                                                                                  !iZi' Yes

                                                                                                      CHILD                                   7                   0       No
                                                                                                                                                                  !iZi' Yes

                                                                                                      PARENT                                  73                  0       No
                                                                                                                                                                  liZi'   Yes

                                                                                                                                                                  0       No
                                                                                                                                                                  D       Yes

 3. Do your expenses include
      expenses of people other than
                                                   liZf   No
      your~elf and your d pendents?                D      Yes




  Estimate your expens s as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses pai d for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 1061.)                                                                 Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
     any rent for the ground or lot.                                                                                                               $                 1400.00
                                                                                                                                        4.

        If not included in line 4:
        4a.      Real estate taxes                                                                                                      4a.        $                       0.00
        4b.      Property, homeowner's, or renter's insurance                                                                           4b.        $                       0.00
        4c.      Home mainte ance, repair, and upkeep expenses                                                                          4c.        $                       0.00
        4d.      Homeowner's association or condominium dues                                                                            4d.        $                       0.00

Official Form 106J                                                         Schedule J : Your Expenses                                                                       page 1
                                   Case 19-26536-RAM                  Doc 1      Filed 12/11/19     Page 39 of 59

 Debtor 1          ESTHER MARCELIN                                                          Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name      Mk:ldle Name      Last Name




                                                                                                                        Your expenses


                                                                                                                    $                     0.00
  5. Additional mortgage payments for your residence, such as home equity loans                              5.

  6. Utilities:
       Sa.   Electricity, heat, natu ral gas                                                                 6a.    $                   200.00
       6b.   Water, sewer, garbage collection                                                                6b.    $                   190.00
       6c.   Telephone, cell phone, Internet, satellite, and cable services                                  6c.    $                   225,QQ
       6d.   Other. Specify:                                                                                 6d.    $                     0.00
  7. Food and housekeeping supplies                                                                          7.     $                   550.00
  8. Childcare and children 's education costs                                                               8.     $                   425.00
  9.   Clothing , laundry , and dry cleaning                                                                 9.     $                   l4Q QQ
10. Personal care prod ucts and services                                                                     10.    $                   jQQ QQ
11. Medical and dental expenses                                                                              11.    $                   130 00
12. Transportation . Include gas, maintenance , bus or train fare .
                                                                                                                    $                   275.00
    Do not include car payments.                                                                             12.

13.    Entertainment, clubs , recreation, newspapers, magazines, and books                                   13.    $                    80.00
14. Charitable contributions and religious donations                                                         14.    $                   650 QQ
15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                                   15a.   $                   100.00
       15b. Health in surance                                                                                15b.   $                     0.00
       15c. Vehicle in surance                                                                               15c.   $                   160.00
       15d. Other insurance. Specify:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                        15d.   $                     0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                             16.    $                     0.00

17.    Installment or lease payments:

       17a. Car payments fo r Vehicle 1                                                                      17a.   $                   425.00
       17b. Car payments for Vehicle 2                                                                       17b.   $
       17c. Other. Specify:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                          17c.   $
       17d. Other. Specify:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                          17d.   $

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1061).                                         18.                         0.00
                                                                                                                    $

19. Other payments you make to support others who do not live with you.
       Specify:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                 19.   $                     0.00
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                     20a.    $                     0.00
       20b. Real estate taxes                                                                               20b.    $                     0.00
       20c. Property, homeowner's, or renter's insurance                                                    20c.    $                     0.00
       20d. Maintenance, repair, and upkeep expenses                                                        20d.    $                     0.00
       2oe. Homeowner's association or condominium dues                                                     20e.    $                     0.QQ


Official Form 106J                                              Schedule J: Your Expenses                                                 page 2
                                        Case 19-26536-RAM               Doc 1       Filed 12/11/19              Page 40 of 59

  Debtor 1            ESTHER MARCELIN                                                               Case number (if known), _ _ _ _ _ _ _ _ _ _ _ _ __
                      First Name    Middle Name       Last Name




 21 .    Other. Specify:                                                                                              21 .   +$              0.00

22.      Calculate your monthly expenses.

         22a . Add lines 4 through 21 .                                                                              22a.    $           5050.00
         22b. Copy line 22 (mo thly expenses for Debtor 2), if any, from Official Form 106J-?                        22b.    $                0.00
         22c. Add line 22a and 22b. The result is your monthly expenses .                                            22c.    $           5050.00


 23. Calculate your monthly net income.
                                                                                                                              $           4977.29
        23a.     Copy line 12 (your combined monthly income) from Schedule /.                                        23a.

        23b.     Copy your monthly expenses from line 22c above.                                                     23b.    -$          5050.00

        23c.     Subtract your monthly expenses from your monthly income.
                 The result is yo r monthly net income.
                                                                                                                              $            -72.71
                                                                                                                     23c.




24 . Do you expect an increase or decrease in your expenses within the year after you file this form?

        For example , do you expect to fin ish paying for your car loan within the year or do you expect your
        mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

        0     No.
        Ga'   Yes .     Explain here:   MY 73 YEAR OLD MOTHER WAS RECENTLY MOVED IN.




Official Form 106J                                                Schedule J: Your Expenses                                                  page 3
                                             Case 19-26536-RAM           Doc 1           Filed 12/11/19               Page 41 of 59
Fill in this information to i~entify your case:

Debtor 1            ESTHER MARCELIN
                    First Name                   Middle Name          Last Name

Debtor 2
(Spouse , tt fil ng) First Name                  Middle Name          last Name                                                       FILED-USBC,FLS-MIA
united states Bankruptcy court tor the:        SOUTHERN DISTRICT OF FLORIDA                                                             '19 DEC 11 PMl:04
Case number
(~ known)
                                                                                                                                         0   Check if this is an
                                                                                                                                             amended filing



  Official Form 1 6Dec
  Deel a ratio                               About an Individual Debtor's Schedules                                                                    12/15

  If two married people are filing together, both are equally responsible for supplying correct Information.

  You must file this form vhenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both.18 U.S.C. §§ 152, 1341 , 1519, and 3571 .




                     Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        0    No
        D    Yes. Name of person_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _. Attach Bankruptcy Petition Preparer's No/ice, Declaration, and
                                                                                                 Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     x~ ~ L                                                          X
                                                                         Signature of Debtor 2


      2 I(I l.io {1
         Date \
                 MM/     DD       I   YYYY
                                                                         Date--,----,-----
                                                                                  MM I DD I   YYYY




  Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                                             Case 19-26536-RAM               Doc 1         Filed 12/11/19          Page 42 of 59

   Fill in this information t(> identify your case:
                                        I


   Debtor 1             ESTHER MARCELIN
                        F1rs1Name                     Middle Name              Last Name

   Debtor 2
   (Spouse, if filing) First Name                     Middk3 Name              Last Name


   United States Bankruptcy Court tor the : SOUTHERN DISTRICT OF FLORIDA

   Case number
    (If known)                                                                                                                              D   Check if this is an
                                                                                                                                                amended filing




  Official Form 107
  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                         04/19

  Be as complete and ace rate as possible. If two married people are filing together, both are equally responsible for supplying correct
  inform ation. If more space is needed, attac h a separate sheet to this form. On the top of any add itional pages, write your name and case
  number (if known). Answer every question.


                   Give Deta i ls About You r Mar i tal St a t us and Where You Lived Before


   1. What is your current marital status?


        D Married
        W Not married

   2. During the last 3 y ars, have you lived anywhere other than where you live now?

       0     No
       !;a   Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                 Debtor 1:                                              Dates Debtor 1      Debtor 2:                                            Dates Debtor 2
                                                                        lived there                                                              lived there


                                                                                            D   Same as Debtor 1                                D   Same as Debtor 1

                  22511 SW 88TH PL                                      From   2018                                                                 From
                 Number             S reet                                                      Number Street
                                                                        To     2019                                                                 To
                  11

                  CUTLER BAY                     FL        33190
                 City                            State ZIP Code                                 City                     State ZIP Code

                                                                                            D   Same as Debtor 1                                D   Same as Debtor 1

                 1042 SE 25TH AVE                                       From   2015                                                                 From _ __
                 Number             Street                                                      Number Street
                                                                        To     2Qj 8                                                                To


                 HOMESTEAD                       FL       33034
                 City                            State ZIP Code                                 City                     State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a commun ity property state or territory? (Community property
       states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       ~ No
       D     Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 •if!             Ex pla in t he Sources of Your Income

Official Form 107                                     Statement of Financ ial Affai rs tor Individuals Fil ing for Bankruptcy                         page 1
                                     Case 19-26536-RAM                            Doc 1          Filed 12/11/19               Page 43 of 59

Debtor 1           ESTHER MARCELIN                                                                                   Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name       Middle Name            Last Name




  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses , including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     0       No
     fi2I'   Yes. Fill in the de tails .

                                                                 Debtor 1                                                     Debtor 2

                                                                 Sources of income                   Gross income             Sources of income          Gross income
                                                                 Check all that apply.               (before deductions and   Check all that apply.      (before deductions and
                                                                                                     exclusions)                                         exclusions)

              From January 1 of current year until                fi2I'   Wages , commissions,
                                                                                                               69371.55
                                                                                                                              0   Wages, commissions,
                                                                                                                                                         $_ _ _ _ _ __
                                                                          bonuses, tips              $                            bonuses, tips
              the date you filed for bankruptcy:
                                                                  fi2I'   Operating a business                                0   Operating a business


              For last calendar year:                             fi2I'   Wages , commissions,                                0   Wages , commissions,
                                                                          bonuses, tips              $              36493         bonuses. tips          $_ _ _ _ _ __
              (January 1 to December 31 ,         2018            0       Operating a business                                0   Operating a business
                                                  yyyy



              For the calendar year before that:                  fi2I'   Wages, commissions,                                 0   Wages, commissions,
                                                                          bonuses, tips                                           bonuses, tips
                                                  2017                                               $              42198                                $_ _ _ _ _ __
              (January 1 to December 31 ,
                                                  yyyy
                                                                  0       Operating a business                                0   Operating a business



  5. Did you receive any other income during this year or the two previous calendar years?
     Include income reg ardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions ; rental income ; interest; dividends ; money collected from lawsuits; royalties ; and
     gambling and lottery w innings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     0       No
     (J'     Yes. Fill in the details.

                                                                 Debtor 1                                                      Debtor 2

                                                                 Sources of income                   Gross income from         Sources of income         Gross income from
                                                                 Describe below.                     each source               Describe below.           each source
                                                                                                     (before deductions and                              (before deductions and
                                                                                                     exclusions)                                         exclusions)



              From January 1 of current year until              FAMILY sup PORT                  $_ _ _7_0_25_.o_o_ _ _ _ _ _ __                         $_ _ _ _ _ __
              the date you filed for bankruptcy:                                                 $_ _ _ _ _ _ _ _ - - - - - - - - - - $_ _ _ _ _ __

                                                                                                 $_ _ _ _ _ _ _ _ - - - - - - - - - - $_ _ _ _ _ __



                                                                                                 - - - -300.00
                                                                FAMILY SUPPORT                   $                                                       $_ _ _ _ _ __
              For last calendar year:                                                                    ---
                                                                                                 $_ _ _ _ _ _ __                                         $_ _ _ _ _ __
              (January 1 to December 31 ,          2018)
                                                  yyyy
                                                                                                 $_ _ _ _ _ _ _ _                                        $_ _ _ _ _ _ __



              For the cale dar year before that:                                                 $_ _ _ _ _ __                                           $_ _ _ _ _ __

              (January 1 to December 31 ,         2017 )                                         $_ _ _ _ _ _ __                                         $_ _ _ _ _ _ _ _
                                                  yyyy
                                                                                                 $_ _ _ _ _ __                                           $_ _ _ _ _ _ _ _




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 2
                                   Case 19-26536-RAM                         Doc 1       Filed 12/11/19          Page 44 of 59

Debtor 1        ESTHER MARCELIN                                                                         Case number   (it known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
               First Name        Middle Name                Lasl Name




              List Certa in Payments You Made Before You Filed fo r Bankruptcy



  6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

     0     No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as
               "incurred by an individual primarily for a personal , family , or household purpose."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               0      No. Go to line 7.

               0      Yes. Li si below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                           total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                           chi ld support and alimony. Also, do not include payments to an attorney for this bankruptcy case .
               • Subject to adjustment on 4/01 /22 and every 3 years after that for cases fi led on or after the date of adjustment.

     ~     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you fi led for bankruptcy, did you pay any cred itor a total of $600 or more?

               li2f   No. Go to line 7.

               D      Yes. List below each cred itor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor. Do not include paym ents for domestic support obligations, such as child support and
                           alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                            Dates of     Total amount paid        Amount you still owe     Was this payment for .. .
                                                                            payment


                                                                                          $_ _ _ _ _ _ __        $_ _ _ __ _ __
                       Creditor's Name
                                                                                                                                           D   Mortgage

                                                                                                                                           D   ear

                       Number    Street                                                                                                    D Credit card
                                                                                                                                           D Loan repayment
                                                                                                                                           D Suppl iers or vendors
                       City                    State            ZIP Code
                                                                                                                                           D Other _ _ _ __


                                                                                          $_ _ _ __ _ __ $_ _ __ _ _ __
                                                                                                                                           D   Mortgage
                       Creditor's Name
                                                                                                                                           D ear

                       Number    Street                                                                                                    D Credit card
                                                                                                                                           D Loan repayment
                                                                                                                                           D Suppliers or vendors
                       City                    State            ZIP Code
                                                                                                                                           D Other _ _ _ __


                                                                                          $_ _ _ _ __ _ $_ _ _ _ _ _ __
                                                                                                                                           D Mortgage
                       Creditor's Name
                                                                                                                                           D Car
                       Numter    Street                                                                                                    D Credit card
                                                                                                                                           D Loan repayment
                                                                                                                                           D Suppliers or vendors
                       City                    State            ZIP Code
                                                                                                                                           D Other _ _ _ __



Official Form 107                                      Statement of Financ ial Affairs for Individuals Filing for Bankruptcy                           page 3
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Debtor 1           ESTHER MARCELIN                                                                   Case number (if known)._ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name      Middle Name           last Name




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives ; any general partners; relatives of any general partners ; partnerships of which you are a general partner;
      corporations of wh ich you are an officer, director, person in control , or owner of 20% or more of their voting securities; and any managing
      agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101 . Include payments for domestic support obligations,
      such as child support and alimony.

      ~    No
      0    Yes . List all payments to an insider.
                                                                         Oates of     Total amount     Amount you still       Reason for this payment
                                                                         payment      paid             owe



            Insider's Name
                                                                                     $_ _ _ __        $_ _ _ _ _
                                                                                                                                                                  7
            Number        Street




            City                                 State   ZIP Code


                                                                                     $_ _ _ _ _       $_ _ _ _ _
            Insider's Name


            Number        Street




            City                                 State   ZIP Code



 a.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
      an insider?
      Include payments on debts guaranteed or cosigned by an insider.

      ~    No
      0    Yes . List all payments that benefited an insider.

                                                                       Oates of       Total amount     Amount you still       Reason for this payment
                                                                       payment        paid             owe
                                                                                                                              Include cred itor's name

                                                                                     $_ _ _ _ _ _     $_ _ _ __
            Insider's Name



            Number       Street




            City                                 State   ZIP Code



                                                                                     $_ _ _ _ _ $_ _ _ _ __
            Insider's Name



            Number       Street




            Crty                                 State   ZIP Code                                                         1

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 4
                                        Case 19-26536-RAM                             Doc 1       Filed 12/11/19                Page 46 of 59

Debtor 1          ESTHER MARCELIN                                                                                   Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                 First Name            Middle Name            Last Name




1¥11             Identify Legal Actions, Repossessions, and Foreclosures
  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces , collection suits , paternity actions, support or custody modifications ,
     and contract disputes.

     !xi"   No
     0      Yes. Fill in the details.
                                                                        Nature of the case                     Court or agency                             Status of the case



             Case title _ _ _ _ _ _ _ _ _ _ __
                                                                                                             Court Name
                                                                                                                                                           0   Pendi ng

                                                                                                                                                           0   On appeal

                                                                                                             Number    Street                              0   Concluded

             Case number
                                                                                                             City                     State   ZIP Code




             Case title._ _ _ _ _ _ _ _ _ _ __                                                               Court Name
                                                                                                                                                           0   Pending

                                                                                                                                                           0   On appeal

                                                                                                             INumber   Street                              0   Concluded

             Case nu mber
                                                                                                             '-City=-------~---==-=--,-----
                                                                                                                             State ZIP Code



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed , garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

     [if    No. Go to line 11.
     0      Yes. Fill in the information below.

                                                                                  Describe the property                                        Date      Value of the property



                                                                                                                                                         $_ _ _ _ _ _
                  Creditor's Name



                  Number      Street                                              Explain what happened

                                                                                  0    Property was repossessed .
                                                                                  0    Property was foreclosed .
                                                                                  0    Property was garnished.
                  City                               State   ZIP Code             0    Property was attached , seized , or levied .

                                                                                  Describe the property                                        Date       Value of the proper!)



                                                                                                                                                         $_ _ _ _ __
                 Creditor's Name



                 Number       Street
                                                                                  Explain what happened


                                                                                  0    Property was repossessed.
                                                                                  0    Property was foreclosed .

                 City                                State   ZIP Code
                                                                                  0    Property was garnished.
                                                                                  0    Property was attached , seized , or levied .



Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5
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    Debtor 1           ESTHER MARCELIN                                                                            Case number   (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                      First Name      Middle Name                 Lest Name




     11. Within 90 days befo re you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
         accounts or refuse to make a payment because you owed a debt?
         liZi No
         D Yes . Fill in the details.
                                                                          Describe the action the creditor took                         Date action      Amount
                                                                                                                                        was taken
               Creditor's Name


                                                                                                                                                         $_ _ _ _ _ __
               Number     Street




               City                            Stale   ZIP Code           Last 4 digits of account number: XXXX-_ _ _ _


     12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
         creditors , a court-appointed receiver, a custodian, or another official?
         !i2I' No
         D     Yes

•,,,
I                     List Certain Gifts and Contributions


     13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         !i2I' No
         D     Yes . Fill in the details for each gift.


                 Gifts with a total value of more than $600               Describe the gifts                                            Dates you gave      Value
                 per person                                                                                                             the gifts


               _ _ II
               Person to Whom You Gave the Gift
                                                                                                                                                          $._ _ _ _ __


                                                                                                                                                          $_ _ _ _ __


               Number     Street



               City                            Stale   ZIP Code


               Person's relationshi p to you


               Gifts with a total value of more than $600                Describe the gifts                                             Dates you gave     Value
               per person                                                                                                               the gifts


                                                                                                                                                           $._ _ _ _ __
               Person lo Whom You Gave the Gift


                                                                                                                                                           $._ _ _ _ __



               Number     Street



               City                            State   ZIP Code


               Person's relatiorship to you - - - - ' - - - -


Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 6
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Debtor 1             ESTHER MARCELIN                                                                              Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name     Middle Name                lest Name




  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     0      No
     li2f   Yes. Fill in the details for each gift or contribution .

             Gifts or contributions to charities                     Describe what you contributed                                         Date you          Value
             that total more than $600                                                                                                     contributed

                                     , 2018 ANNUAL Bl-WEEKLY TITHING (TOTAL).
            MIRACLE DELI VERANCE HEALi 2019 YTD TITHING (TOTAL AS OF DATE                                                                  12/31/18                 7280
                                                                                                                                                             $_ _ _ _ __
            Charity's Name             SHOWN)
            21910 SW 120TH AVE.                                                                                                            11 /29/1 9               6060
                                                                                                                                                             $_ _ _ _ __


            GOULDS
            Number      Street


            FL                            3317(
            City           State        ZIP Code




IMil                 List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
      disaster, or gambling?

     Iii No
     D      Yes. Fill in the details.

             Describe the property you lost and                       Describe any insurance coverage for the loss                         Date of your      Value of property
             how the loss occurred                                                                                                         loss              lost
                                                                      Include the amount that insurance has paid. List pending insurance
                                                                      claims on line 33 of Schedule A/8: Property.




                                                                                                                                   ]-                        $_ _ _ _ __




                    List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys , bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     li2f   No
     D      Yes. Fill in the details.

                                                                      Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                           transfer was
             Person Who Was Paid                                                                                                           made


             Number       Street                                                                                                                             $_ _ _ _ __


                                                                                                                                                             $_ _ _ _ __

             City                         State    ZIP Code



             Email or website address


             Person Who Made the Payment, if Not You                                                       __________._                    _____________
Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 7
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Debtor 1           ESTHER MARCELIN                                                                            Case number   (if known),_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                     transfer was made     payment


            Person Who Was Pad
                                                                                                                                                          $. _ _ _ _ __

            Number       Street
                                                                                                                                                          $_ _ _ _ __



            City                         State   ZIP Code




            Email or website address



            Person Who Made the Payment, if Not You



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
      promised to help you deal with your creditors or to make payments to your creditors?
      Do not include any payment or transfer that you listed on line 16.

     lif No
     D     Yes . Fill in the deta ils.

                                                                    Description and value of any property transferred                Date payment or      Amount of payment
                                                                                                                                     transfer was
                                                                                                                                     made
            Person Who Was Paid


                                                                                                                                                          $._ _ _ _ __
            Number        Street


                                                                                                                                                          $_ _ _ _ _

            City                         State   ZIP Code

  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on th is statement.
     lif No
     D     Yes. Fill in the details.

                                                                   Description and value of property         Describe any property or payments received        Date transfer
                                                                   transferred                               or debts paid in exchange                         was made
                                                                 .-- --- - - - - -
                                                                                                                                                          7
                                                                                                                                                           , __
            Person Who Rece ved Transfer



            Number       Street



                                                                                                                                                           I
            City                         State   ZIP Code
                                                                                                                                                           J
            Person 's relationship to you _ _ _ _ __
                                                                        ---      -----
            Person Who Received Transfer



            Number       Street




            City                         State   ZIP Code

            Person's relationship to you _ _ _ _ __

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8
                                     Case 19-26536-RAM                             Doc 1        Filed 12/11/19            Page 50 of 59

Debtor 1            ESTHER MARCELIN                                                                            Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     li2f   No
     D      Yes. Fill in the details.

                                                                    Description and value of the property transferred                                        Date transfer
                                                                                                                                                             was made


            Name of trust

                                 -                               I                                                                                       J
                 List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking , avings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     lif No
     D      Yes. Fill in the details.

                                                                        Last 4 digits of account number   Type of account or      Date account was       Last balance before
                                                                                                          instrument              closed, sold, moved,   closing or transfer
                                                                                                                                  or transferred

             Name of Financial Institution
                                                                        xxxx-_ _ _ _                      0   Checking                                   $_ _ _ _ _

             Number       Street
                                                                                                          0   Savings

                                                                                                          0   Money market

                                                                                                          0   Brokerage
             City                       State    ZIP Code
                                                                                                          D Other_---::==-=~ -

                                                                        XXXX-_      __ _                  0   Checking                                   $_ _ _ __
             Name of Financial Institution
                                                                                                          0   Savings

             Number       Street                                                                          D Money market
                                                                                                          D Brokerage
                                                                                                          Oother_ _ __
             City                       State    ZIP Code


 21. Do you now have, or did you have within                  1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash , or other valuables?
     Gif    No
     0      Yes. Fill in the details.
                                                                    Who else had access to it?                      Describe the contents                        Do you still
                                                                                                                                                                 have it?

                                                                                                                                                                 0   No
             Name of Financial Institution                         Name
                                                                                                                                                                 D   Yes


             Number       Street                                   Number      Street



                                                                   City          State      ZIP Code

             City                       State    ZIP Code



Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
                                    Case 19-26536-RAM                             Doc 1             Filed 12/11/19              Page 51 of 59

Debtor 1            ESTHER MARCELIN                                                                                     Case number   (if known)_ _ _ _ _ _ _ _ _ _ _ _ __    _
                    First Name     Middle Name               Last Name




 22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    fiZi   No
    0      Yes. Fill in the details.
                                                                    Who else has or had access to It?                        Describe the contents                    Do you still
                                                                                                                                                                      have it?

                                                                                                                                                                     •     No
             Name of Storage Facility                               Name
                                                                                                                                                                    ,•     Yes

             Number       Street                                    Number    Street




             City                        State    ZIP Code
                                                                    City State ZIP Code




                      Identify Property You Hold or Control for Someone Else
                                                                                                                                                                             J
 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     lif No
     0     Yes. Fill in the details.
                                                                    Where is the property?                                   Describe the property                 Value



             Owner' s Name                                                                                                                                         $_ _ __

                                                                  Number     Street
             Number       Street




             City                        State    ZIP Code
                                                                  City                             State     ZJP Code
                                                                                                                                                     ____J
                      Give Details About Envlronmental Information

 For the purpose of P rt 10, the following definitions apply:
 • Environmental la w means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

 • Site means any location, facility , or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own , operate, or utilize it, including disposal sites.

 • Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases , and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     ii' No
     0     Yes. Fill in th e details.
                                                                   Governmental unit                             Environmental law, if you know it               Date of notice



           Name of site                                            Governmental unit


           Num ber      Street                                     Number    Street


                                                                  City                    State   ZIP Code



           Ci ty                        State    ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 10
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Debtor 1         ESTHER MARCELIN                                                                                        Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name      Middle Name              Last Name




 25. Have you notified a y governmental unit of any release of hazardous material?

     Gt{    No
     0      Yes. Fill in the details.
                                                                    Governmental unit                               Environmental law, If you know it                     Date of notice



             Name of site                                          Governmental unit


             Number        Street                                  Number     Street



                                                                   City                  State    ZIP Code


             City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     fiZI   No
     0      Yes. Fill in the details.
                                                                                                                                                                           Status of the
                                                                     Court or agency                                     Nature of the case
                                                                                                                                                                           case

            Case title _ _ _ _ _ _ _ _ _ _ __
                                                                     Court Name
                                                                                                                                                                           0    Pend ing

                                                                                                                                                                           0    On appeal

                                                                     Number     Street                                                                                     0    Concluded


            Case number                                              City                        State   ZIP Code




 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            Ga' A sole proprietor or self-employed               in a trade, profession, or other activity, either full-time or part-time
            0    A member of a limited liability company (LLC) or limited liability partnership (LLP)
            0    A partner in a partnership
            0    An officer, director, or managing executive of a corporation
            0    An owner of at least 5% of the voting or equity securities of a corporation

     0      No. None of the above applies. Go to Part 12.
     ~ Yes. Check all that apply above and fill in the details below for each business.
                                                                     Describe the nature of the business                                 Employer Identification number
             ROYALE DESIGNS SUBMISSIC                                                                                                    Do not include Social Security number or ITIN.
             Business Name
                                                                    SERVICE BUSINESS
             1042 SOUTHEAST 25TH AVENI                                                                                                   EIN:   XX-XXXXXXX         ____ _
             Number        Street
                                                                                                               _____ ___l
                                                                     Name of accountant or bookkeeper                                    Dates business existed



             HOMESTEAD
             City
                                          FL
                                         State
                                                  33035
                                                  ZIP Code
                                                                                                                                    l    From     2014       To   2019

                                                                     Describe the nature of the business                                 Employer Identification number
             EMF CONSULTANTS                                                                                                             Do not include Social Security number or ITIN.
             Business Name
                                                                    SERVICE BUSINESS
             22511 SOUTHWEST 88TH PLA<                                                                                                   EIN:   XX-XXXXXXX         ____ _
             Number        Street
                                                                     Name of accountant or bookkeeper                                    Dates business existed
                                                                                                                                     !

                                                                                                                                         From                To _ __
             CUTLER BAY                   FL      33190
             City                        State    ZIP Code

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Debtor 1         ESTHER MARCELIN                                                                                            Case number (if known)_ _ _- ' - - - - - - - - - - - - -
                    First Name                Middle Name              last Name




                                                                                                                                           Employer Identification number
                                                                                 Describe the nature of the business
                                                                                                                                           Do not include Social Security number or ITIN.

                                                                  '
                                                                                                                            _____ I
             Business Name

                                                                                                                                      .., EIN: -     -    -- -       -    -   -    --
             Number        Street
                                                                                   Name of accountant or bookkeeper                        Dates business existed


             - -1-- -                                                        I

                                                                                                                                       1
                                                                                                                                           From                To _ __

                                          I
             City                                  State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors , or other parties.

     liZi   No
     D      Yes. Fill in the details below.

                                                                                   Date issued



                                      I
             Name
                                      I                                            MM / DD / YYYY



             Number        Street


                                      I




             City
                                      I            State    ZIP Code




•er. .,.,,...       Sign Below


      I have read the answers on this Sta tement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection wit h a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341 , 1519, and 3571 .




       JC~Meb                                                                                       Signature of Debtor 2


             o,oo~ \ 9                                                                              Date _ _ _ _ __

       Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

       ~      No
       D      Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       !;a No                                                                    •
       D     Yes. Name of person._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                  Attach the Bankruptcy Petition Preparers Notice,
                                                                                                                                   Declaration, and Signature (Official Form 119).
                                 11

                                 "

Official Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 12
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Fill in this information to i entify your case:

Debtor 1              ESTHER MARCELIN
                      First Name              Middle Name              Last Name

Debtor 2
(Spouse,   ~   filing) First Name             Middle Name              Last Name


United states Bankru ptcy court tor the: SOUTHERN DISTRICT OF FLORIDA

Case number                                                                                                                              D     Check if this is an
 (If known)                                                                                                                                    amended filing




  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                          12I1s

  If you are an individual fi ling under chapter 7, you must fill out this form if:
  •   creditors have claims secured by your property, or
  • you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, un less the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

                       List Your Creditors Who Have Secured Claims

      1. For any creditors t hat you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
         information below.

           Identify the creditor and the property that is collateral               What do you intend to do with the property that   Did you claim the property
                                                                                   secures a debt?                                   as exempt on Schedule C?

           Creditor's
           name:              CAPI AL ONE AUTO FINAN
                                                                                   !;;a Surrender the property.                      ii3 No
         Description of             VEHICLE SONATA SPORT HYUNDAI
                                                                                   0 Retain the property and redeem it.              •   Yes
         property                                                                  0 Retain the property and enter into a
         securing debt:                                                                Reaffirmation Agreement.
                                                                                   0   Retain the property and [explain]: _ _ __



         Creditor's
         name:
                                                                                   0   Surrender the property.                       •   No

         Description of
                                                                                   0   Retain the property and redeem it.            •   Yes

         property
                                                                                   0   Retain the property and enter into a
         securing debt:                                                                Reaffirmation Agreement.
                                                                                   0   Retain the property and [explain] : _ _ __



         Creditor's                                                                0   Surrender the property.                       0   No
         name :
                                                                                   0   Retain the property and redeem it.            0   Yes
         Description of
         property                                                                  0   Retain the property and enter into a
         securing debt:                                                                Reaffirmation Agreement.
                                                                                   0   Retain the property and [explain):
                                                                                                                            ----

         Credito r's                                                               0   Surrender the property.                       0   No
         name :
                                                                                   0   Retain the property and redeem it.            0   Yes
         Description of
         property                                                                  0   Retain the property and enter into a
         securing debt:                                                                Reaffirmation Agreement.
                                                                                   0   Retain the property and [explain]: _ _ __



  Official Form 108                            Statement of Intention for Individuals Filing Under Chapter 7                                   page 1
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 Debtor 1          ESTHER MARCELIN                                                                 Case number   (If known),_ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name          Middle Name      Last Name




                   List Your Unexpired Personal Property Leases

   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
   fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
   ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

        Describe your unexpired personal property leases                                                                   Will the lease be assumed?

       Lessor's name:                                                                                                     •   No

       Description of leased
                                                                                                                          •   Yes
       property:


       Lessor's name:                                                                                                     0   No

       Description of leased
                                                                                                                          •   Yes
       property:


       Lessor's name:                                                                                                     0   No

       Description of leased                                                                                              •   Yes
       property:


       Lessor's name:                                                                                                     •   No
                                                                                                                           D Yes
       Description of leased
       property:


       Lessor's name:                                                                                                     0   No


       Description of leased
                                                                                                                          •   Yes

       property:


       Lessor's name:                                                                                                     0   No

       Description of leased
                                                                                                                          •   Yes
       property:


       Lessor's name:                                                                                                     0   No

       Description of leased
                                                                                                                          •   Yes

       property:




•,,,               Sign Below



     Under penalty of perjury , I declare that I have indicated my intention about any property of my estate that secures a debt and any
     personal property t hat is s ject to an unexpired lease.




                                                                        Signature of Debtor 2

      Date \ ~
            MM /       D
                           I l lZQ( ()
                            /   YYYY
                                                                        Date _ _ _ _ _ _ __
                                                                             MM /   DD /   YYYY




Official Form 108                                    Statement of Intention for Individuals Filing Under Chapter 7                         page 2
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                   SOUTHERN DISTRICT OF FLORIDA
              IN THE UNITED STATES BANKRUPTCY COURT FOR THE

                                                                       FILED-USBC, r::LS-MIA
                                                                          '19 DEC 11 Pt-.1:05

IN RE :                                )
                                       )
                                       )      Case No.
ESTHER MARCELIN                        )                 -----------
             Debtor.                   )      Chapter 7


                            VERIFICATION OF MATRIX


The above named debtor hereby verifies that the attached List of Creditors is true
and correct to the best of his/her/their knowledge.


Date      1-J 11 l201ci                    a~
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Acs Florida Int U iv

Univ Park Campus

Miami , FL




Baptist Health South F
13200 Sw 128th St Ste C 1

Miami , FL 33186




Capital One Auto Finan

3901 Dallas Pkwy
 Plano , TX 75093




 Capital One Bank Usa N

 Po Box 85520
 Richmond , VA 23285




 Credit One Bank Na

 Po Box 98875
  Las Vegas, NV 89193




  Fedloan Servicing

  P O Box 530210
  Atlanta, GA 30353-0210




  Macys Dsnb
  9111 Duke Blvd
  Mason , OH 45040
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Nordstrom Td Bank Usa

13531 E Caley Ave
Englewood , CO 80111




Professional Debt

7948 Baymeadows Way Fl 2

Jacksonville , FL 32256




Progressive Leasing

256 West Data Drive

Draper, UT 84020




 Resort Com International

6850 Bermuda Rd
 Las Vegas , NV 89119




 Telecom Self Reported

 Po Box 4500
 Allen , TX 75013




 Utility Self Reported

 Po Box 4500
 Allen , TX 75013




 Webbank Fingerhut

  6250 Ridgewood Rd
  Saint Cloud , MN 56303
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Willie Mae Shinhoster

2094 Southeast 17th Street

Homestead , FL 33035
